                      UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF NEW YORK

 JANE DOES NOS. 1-10, individually and on
 behalf of all others similarly situated,

                Plaintiffs,

        v.                                                   Case No.

 PETER J. NYGARD, NYGARD INC.,
 NYGARD INTERNATIONAL
 PARTNERSHIP, AND NYGARD
 HOLDINGS LIMITED                                            JURY TRIAL DEMANDED

                Defendants.


                                CLASS ACTION COMPLAINT

       This is a civil class action for damages under the United States Federal sex trafficking

statute, 18 U.S.C. §§ 1591, et seq., arising from Defendant Peter J. Nygard’s (“Nygard”) rape and

sexual assault of Plaintiffs, Jane Does Nos. 1-10, and the other members of the Classes proposed

below (the “Class”), in the United States, the Commonwealth of the Bahamas, and elsewhere

around the world. Defendants, using interstate and foreign commerce, recruited, lured, and enticed

young, impressionable, and often impoverished children and women, with cash payments and false

promises of lucrative modeling opportunities to assault, rape, and sodomize them. Nygard used

his considerable influence in the fashion industry, his power through corruption of officials, and a

network of company employees under his direction, to groom and entice underage girls and

women. Defendants knew that Nygard would use means of alcohol, drugs, force, fraud, and/or

other forms of coercion to engage in commercial sex acts with these children and women, and, in

many cases, with knowledge that they were less than eighteen years old. Defendants knowingly

benefited from, and received value for, their participation in the venture, in which Nygard, with
the Nygard Companies’ knowledge, or in reckless disregard of the fact, that Nygard would defraud,

force, and/or coerce Jane Does Nos. 1-10 and other Class members—many of whom were under

the age of eighteen—to engage in commercial sex acts.

       Defendants Nygard Inc. and Nygard International Partnership (“Nygard International”),

with their global headquarters near Times Square in New York City, and Nygard Holdings Limited

(“Nygard Holdings”), were instrumental in knowingly aiding, abetting, facilitating, and

participating in Defendants’ decades-long sex trafficking scheme, while knowing, or in reckless

disregard of the fact, that Nygard would use means of force, fraud, and/or coercion, or knowing

that the person had not attained the age of eighteen years, to force vulnerable children and women

to engage in commercial sex acts in violation of the Trafficking Victim Protection Act (“TVPA”).

Nygard owned, directly and/or indirectly, all of these companies, controlled them, had them

commingle funds with each other, avoided all corporate formalities between them, and used them

to commit his unlawful acts.

       Defendants’ destruction of innocent lives is immeasurable. When Nygard became aware

of the investigation into his sex trafficking ring, he resorted to tactics of violence, intimidation,

bribery, and payoffs to attempt to silence the victims and to continue his scheme.

                                        INTRODUCTION

       1.      Nygard is, in his own words, a world-renowned fashion designer. By others,

Nygard “has been accused of abusive labor practices, tax evasion, sexual harassment and rape.”1

       2.      Nygard is the founder, chairman, figurehead, former chief executive, and icon of

Nygard Inc., Nygard International, and Nygard Holdings (together, the “Nygard Companies”).



1
  https://www.forbes.com/forbes/2010/1206/features-peter-nygard-sexual-harassment-answers-
to-no-one.html#236f0e30bc9b

                                                 2
          3.     Directly or indirectly, Nygard owned 100% of the Nygard Companies at the time

of the acts detailed in this Complaint.

          4.     Further, Nygard entirely controls each of the Nygard Companies. He calls all the

shots and is accountable to no one. His Board consists of himself and two division presidents.2

          5.     The Nygard Companies comingle funds and do not observe corporate formalities.

          6.     Nygard is the Nygard Companies; the Nygard Companies are Nygard.

          7.     Indeed, Nygard proclaims in public filings that he and his businesses are “closely

associated in the public eye.”3

          8.     The Nygard Companies’ promotional materials and advertisements also make the

companies synonymous with “one man,” Nygard, who is featured individually on almost all

promotional materials and advertisements.4

          9.     Nygard and his businesses are “closely identified in the public mind, similar to

other fashion houses.”5

          10.    Nygard Inc. and Nygard International have their global headquarters near Times

Square in New York City.

          11.    Nygard and his companies have repeatedly invoked the jurisdiction of the United

States courts, including the courts in this District, by filing lawsuits in multiple United States

courts.6


2
    Id.
3
 Complaint at ¶ 31, Nygard, et al. v. Dipaolo, et al., No. 17-cv-60027 (S.D.N.Y. Jan. 5, 2017), at
¶¶ 1, 31.
4
    See, e.g., video at https://corporate.nygard.com/.
5
 See Complaint at ¶ 31, Nygard, et al. v. Dipaolo, et al., No. 17-cv-60027 (S.D. Fla. Jan. 5,
2017).
6
 See, e.g. Nygard, et al. v. Dipaolo, et al., No. 17-cv-60027, 2017 WL 4303825 (S.D. Fla. Jan. 5,
2017); Nygard International Partnership v. Feralio, No. B266683, 2017 WL 4784925 (Cal. Ct.
                                                    3
       12.     Nygard has a residence in New York City, which is above his flagship store near

Times Square. Nygard International leases this building.

       13.     Nygard also resides in California and Florida.

       14.     Nygard also owns the companies Nygard NY Retail, LLC, Nygard Partners, LLC,

and Orion Asset Management, Inc., each of which is a New York corporation.

       15.     At the heart of this action is Nygard’s use of the Nygard Companies to facilitate

and enable the rape and sexual assault of underaged girls and women in the United States, the

Bahamas, and elsewhere around the world.

       16.     The Nygard Companies fund Nygard’s illegal sex trafficking venture, and Nygard

uses the Nygard Companies’ brand, resources, and promotional events to recruit, lure, and/or

entice his victims and force or coerce them, or knowing that the victim has not attained the age of

eighteen years, into engaging in commercial sex acts.

       17.     In turn, the Nygard Companies knowingly benefit from their participation in

Nygard’s venture by the continued promotion of the Nygard brand and by using Nygard’s full-

time sex workers to render services to the Nygard Companies.

       18.     Nygard, using the Nygard Companies’ resources, engaged in a pattern and practice

of recruiting, luring, enticing, and obtaining underaged girls and women, and causing them through

force, fraud or coercion, or knowing that the victim had not yet attained the age of eighteen years,

to engage in commercial sex acts through, among other means, promising lucrative modeling

opportunities, providing cash payments, drugging his victims, confiscating his victims’ passports,




App. Oct. 24, 2017); Nygard v. Jasper, No. 8:15-cv-1939-T-33EAJ, 2016 WL 9526666 (M.D. Fla.
Jan. 4, 2016); Nygard, Inc. v. Uusi-Kerttula, 159 Cal.App.4th 1027 (Cal. Ct. App. 2008); Nygard,
Inc. v. Kustannusosakeyhtio Iltalehti, No. B192639, 2007 WL 1775963 (Cal. Ct. App. June 21,
2007).

                                                 4
preventing his victims from exiting the Nygard Cay property in the Bahamas and properties in the

United States, threatening victims with physical violence, and using physical force against them.

         19.      Nygard recruited, lured, and enticed some of his victims, as alleged herein, to

engage in commercial sex acts in, among other places, California and New York.

         20.      The Nygard Companies have actual knowledge of Nygard’s unlawful commercial

sex acts through him, as he is the founder, chairman, and 100% owner of the Nygard Companies.

         21.      Further, the Nygard Companies knowingly aided and abetted, facilitated, and

participated in Nygard’s illegal sex trafficking venture by being integrally involved in the sex

trafficking, assault, and rape of children and young women, examples of which are listed below.

               a. Nygard used the Nygard Companies’ money, brand, and resources to facilitate and

                  commit commercial sex acts in the United States, Bahamas, and elsewhere around

                  the world.

               b. Nygard hosted regular company events known as a “pamper parties,”7 in the

                  Bahamas and California under the Nygard brand, to both promote the Nygard

                  Companies’ brand and facilitate commercial sex acts. In doing so, Nygard was

                  acting on behalf of the Nygard Companies, under the brand and reputation of the

                  Nygard Companies, and using the Nygard Companies to commit his crimes.

               c. Nygard used fraud and deceit to knowingly lure and entice children and women to

                  his Nygard Cay property under the false pretense of attending “pamper parties” and

                  promising, among other things, interviews for lucrative modeling opportunities

                  when, in fact, he had no intention of fulfilling his empty promises.




7
    See https://www.youtube.com/watch?v=WPFz3_yfj2I

                                                   5
d. The Nygard Companies funded Nygard’s “pamper parties” under the Nygard brand

   by transferring cash from its bank account in Canada, routing it through New York,

   and depositing it in a Bahamian bank account that belongs to a Bahamian holding

   company called Nygard Holdings.

e. The Nygard Companies used corporate accounts to pay for drugs, alcohol,

   entertainment, and food for the “pamper parties,” and also provided the cash that

   Nygard delivered to accomplices and victims to facilitate Nygard’s commercial sex

   acts with children and young women.

f. The Nygard Companies also paid all employees and staff, including accomplices

   who recruited and groomed children and women to engage in commercial sex acts,

   who worked the “pamper parties.”

g. Nygard used the Nygard Companies’ boats, including, but not limited to, the “Yves

   Lauren,” and “Lady Hilkka,” at least one of which is docked in Florida, for months

   at a time, to transport drugs, liquor, and supplies for the “pamper parties.”

h. Nygard used the Nygard Companies’ employees and the Nygard Companies’

   customized “N-Force” jet to transport his victims from the Bahamas to destinations

   in the United States and around the world including, without limitation, his

   residences in California, Florida, and New York.

i. Nygard also used the Nygard Companies’ resources including, without limitation,

   the corporate jet, to smuggle women, drugs, liquor, and other supplies into and out

   of various jurisdictions including, without limitation, the United States and the

   Bahamas.




                                     6
j. The victims that Nygard found most attractive and sexually desirable were forced

   through a combination of fraud, coercion, psychological force and manipulation,

   and physical force, or knowing that the victim had not attained the age of eighteen

   years, to become full-time sex workers, which he referred to as his “girlfriends.”

   Nygard’s “girlfriends” were coerced and enticed to move into his Nygard Cay

   property with promises of money and/or future modeling opportunities, where they

   were not allowed to leave without his express permission. They were forced to

   meet his every demand including, without limitation, “recruiting” new victims to

   attend his “pamper parties” so that Nygard could continue his pattern and practice

   of forcing children and women into commercial sex acts.

k. Nygard’s “girlfriends” were also forced to accompany him on Nygard Companies-

   sponsored fashion tours in the United States, Canada, and elsewhere around the

   world, where they were required to commit commercial sex acts that satisfied his

   perverse sexual desires, “recruit” new victims for him while on tour, and provide

   services to the Nygard Companies.

l. Nygard’s “girlfriends” were always paid varying amounts of cash in United States

   currency, submitted to and provided by the Nygard Companies’ financial

   personnel, and paid directly by Nygard to help ensure their compliance and silence.

   Nygard’s longtime “girlfriends” were also put on the Nygard Companies’ official

   payroll. They were paid monthly through direct deposit with funds from a Nygard

   corporate account by the Nygard corporate accountant. They were required to

   submit invoices that stated that they were being paid for “modeling and promotional

   services”—even though they were full-time sex workers. Every payment had to be



                                    7
   directly approved by Nygard himself. The amounts of their payments were based

   upon their level of servitude to Nygard, their ability to satisfy his sexual desires,

   and their ability to “recruit” new victims for him to engage in commercial sex acts

   with.

m. Travel arrangements for Nygard’s “girlfriends” and victims were made through

   Nygard’s corporate travel department, which is headquartered in the United States.

n. Nygard frequently took his “girlfriends” and victims to his New York City

   residence. He regularly forced his “girlfriends” to accompany him to “swingers”

   clubs in New York City. While at the “swingers” clubs, Nygard forced his

   “girlfriends” to find couples for him to have sex with. He then paid, forced, and/or

   coerced his “girlfriends” to have sex with other men, while he watched and engaged

   in sex with the men’s partners. Nygard treated sex like a currency.

o. Nygard used employees paid by the Nygard Companies, using Company-owned

   computers, email, phones, and social-media accounts to lure his victims to locations

   in the United States, the Bahamas, Canada, and elsewhere around the world, so that

   Nygard could use force, fraud and coercion, or knowing the victim had not attained

   the age of eighteen years, to cause them to engage in commercial sex acts.

p. Nygard kept a database of potential victims that was maintained by the Nygard

   Companies’ corporate information technology (“IT”) department on the corporate

   server (mostly maintained in the United States). By the mid-2000s, this database

   was confirmed to have contained information on over 7,500 underage girls and

   women.




                                     8
q. The Nygard Companies and Nygard employed people to work at what Nygard

   referred to as Nygard’s Corporate Communications Coordinators (“ComCor”).

   Among other duties, ComCor employees were used to ensure that Nygard’s

   potential victims attended the “pamper parties” by contacting them and arranging

   for their transportation to the parties. Thereafter, Nygard seduced, coerced, incited,

   paid, and promised these victims modeling careers to cause them to engage in

   commercial sex acts. All ComCor employees were paid by the Nygard Companies.

r. Upon arrival at the gated Nygard Cay property, most of Nygard’s victims were

   required to “register” with ComCor, which was in charge of planning and

   coordinating corporate events, by providing their personal information, such as

   their names, telephone numbers, email addresses, and the identities of the persons

   who invited them. They were also required to pose for headshots and full-body

   photographs.    The pictures and registration forms, filled out by the Nygard

   employees, were scanned and emailed directly to Nygard, so that he could review

   who was in attendance, while sitting upstairs in his bedroom. Nygard would then

   use this information to select his potential victims for the night, by meeting his self-

   avowed standard of: “an eight in the face, and a nice toilet.”

s. The information was then entered into a Company database, so that Nygard had a

   ready list of “prospective recruits” who were potential victims to pursue at any

   given time.    The database contained information and pictures of over 7,500

   underage girls and women dating back to 1987. The database was hosted on a

   corporate server and was maintained by the Nygard Companies’ IT department.




                                      9
             Nygard’s head of IT, Daane Clifford,8 died suddenly just a few months ago (just a

             few weeks after The New York Times was known to be investigating this story), at

             the age of 44.

          t. Nygard’s ComCor was used to keep track of, make contact with, and lure potential

             victims to Nygard Cay through the database. Nygard instructed the Company-paid

             employees to call potential victims to invite them to “pamper parties,” transport

             girls to and from the “pamper parties,” or to otherwise pay for their transportation.

          u. Nygard’s ComCor also used social media to post about “pamper parties” and to

             direct-message potential victims who met Nygard’s specifications to invite to

             “pamper parties.” Nygard’s ComCor knowingly recruited these victims for Nygard

             and were paid by the Nygard Companies, with cash routed through New York and

             paid out of Nygard corporate accounts.

          v. Using the Nygard Companies’ resources, including United States currency,

             Nygard, on his own and through his direction to his employees, paid his victims for

             the commercial sex acts.

          w. Nygard used his financial resources, influence, power in the Bahamas, and

             psychological manipulation to intimidate his victims and to ensure that his crimes

             were not reported. Those of his “girlfriends” who tried to leave him were harassed

             and threatened by Bahamian police who were on Nygard’s payroll (and who were

             paid with Nygard Companies’ United States currency).




8
   See https://www.linkedin.com/in/daane-clifford-9a180332/?originalSubdomain=ca; see also
https://www.dignitymemorial.com/obituaries/langley-bc/daane-clifford-8735816.

                                              10
             x. Nygard made a concentrated and deliberate effort to protect and conceal his

                criminal activities. Specifically, Nygard initiated a scheme to purchase police

                protection and political cover in the Bahamas by making regular payments of tens

                of thousands of dollars to law enforcement, government officials, regulators, and

                even to a former Cabinet Minister who became the Prime Minister of the Bahamas.

                This scheme was so successful that victims who escaped Nygard Cay were often

                brought back to the Cay by the Bahamian police.

             y. In an effort to reinforce fear, control, and dominance over his victims, Nygard

                regularly flaunted his political power to control the Bahamian police and the

                Bahamian government by inviting and parading government officials at his Nygard

                Cay property and in front of Nygard’s victims.

             z. Nygard also paid people, using Nygard Company money, to intimidate his former

                “girlfriends” by slashing their tires, committing arson, paying police to threaten to

                arrest them, and by having them followed.

       22.      Nygard intentionally used the Nygard Companies’ resources and brand to recruit,

lure, and entice children and women to cause them to engage in commercial sex acts and other

degrading acts, for which he always provided Nygard Companies’ resources as value.

       23.      Further, the Nygard Companies knowingly financed Nygard’s commercial sex acts.

       24.      The Nygard Companies marketed Nygard’s playboy image, the Nygard Cay

property, and “pamper parties” as part of the Nygard brand, which benefited the Nygard

Companies9 and provided Nygard with access to a steady supply of victims. Nygard’s public




9
 https://ewnews.com/711-rapes-presented-to-hospitals-since-july-2013;
https://www.youtube.com/watch?v=Hb64u6hDxfI;
                                                 11
image in that regard was used to promote the Nygard brand and its products in the Bahamas and

around the world, as well as to facilitate his sex trafficking.

       25.     The Nygard Companies knowingly benefited financially from Nygard’s sex-

trafficking venture. By facilitating Nygard’s commercial sex acts in foreign commerce, the

Nygard Companies enjoyed the promotion and promulgation of the Nygard Companies’ projects

internationally. Nygard is the face of the Nygard Companies, and his presence and promotion in

foreign commerce brought exposure and prestige to the Nygard Companies.

       26.     The Nygard Companies facilitated Nygard’s commercial sex acts in foreign

commerce to obtain the enormous publicity that Nygard garnered by promoting the Nygard

Companies’ products internationally, as well as acting as a pimp between high powered individuals

who, in return, gave favorable dealings to the Nygard Companies, which financially benefited the

Nygard Companies.

       27.     The Nygard Companies also benefited from the services that Nygard’s sex workers

were forced to provide to the Nygard Companies including, without limitation, modeling company

clothing for company executives, their clothing design ideas, preparing Nygard for his business

meetings, attending business meetings, and perpetuating Nygard’s playboy image, which is a

crucial component of the Nygard brand.

       28.     This Paragraph’s table synthesizes the horrific details (presented in greater detail

later on in this Complaint) of Nygard’s rape and sexual assault of Jane Does Nos. 1-10, effectuated

and facilitated through the Nygard Companies’ resources, assets, and employees. The table details

Nygard’s penchant for vicious, unimaginable rape of children and women.




https://www.youtube.com/watch?v=WPFz3_yfj2I;
https://www.youtube.com/watch?v=nIJWrU9wq7w

                                                  12
Age When   Jane          Details About Rape                     Nygard Companies’
Raped by   Doe                                                     Involvement
 Nygard     No.
   14        1  Nygard showed her pornography of a           Nygard workers took
                man rubbing feces over a woman’s             pictures of her when she
                body.                                        was changing in a Nygard
                                                             store.
                 Over her objections, Nygard used force
                 and fear to have her penetrate his anus     ComCor workers called her
                 with a lubricated dildo, while he           to invite her to a “pamper
                 masturbated.                                party.”

                 Nygard approached her and she asked         After being raped at the
                 him to stop. Nygard, ignoring her           “pamper party,” she went
                 rejection, reached around her neck,         back to the dining area,
                 began unzipping her dress, put on a         where she found the two
                 condom, kissed her, and began to open       Nygard employees who
                 her legs. As she tried to close her legs    brought her there. A
                 and push him off of her, he held her        Nygard employee escorted
                 hands back and pinned them against the      her to a car and transported
                 headboard.                                  her back home.

                 The victim, a virgin, cried as Nygard       The Nygard Companies
                 forced his penis into her vagina, causing   supplied the cash paid to the
                 extraordinary trauma and pain.              victim.

   14       2    Over her objections, Nygard served her      Upon reaching Nygard Cay
                 several glasses of wine. Nygard’s           for a “pamper party,”
                 employees brought him a bag of pills.       ComCor employees took
                 Nygard gave her three pills and             down her contact
                 instructed her to take them all at once     information and
                 with her wine.                              photographed her.

                 Nygard then led her to his bedroom.         A ComCor employee
                 There, Nygard removed her pants and         WhatsApp text messaged
                 underwear and attempted to force a          her to invite her to another
                 dildo into her vagina. She resisted and     “pamper party.”
                 told him to stop because it hurt. But       A Nygard employee
                 Nygard did not stop; instead, he            transported her to the
                 instructed her to “relax” and stated that   “pamper party.”
                 “it has to be done sooner or later.” At
                 that point, she blacked out and does not    At the “pamper party,”
                 know what Nygard did to her while she       Nygard’s driver escorted her
                 was unconscious.                            and introduced her to
                                                             Nygard.



                                      13
         The next morning she woke and saw          After she woke up from her
         Nygard still sleeping next to her in the   first instance of being raped,
         bed. She immediately got out of bed        Nygard’s assistant came up
         and noticed blood on the sheets. She       to the room to escort Jane
         went to the bathroom and immediately       Doe No. 2 downstairs. On
         cleaned herself up. There was blood        the way downstairs,
         around her vagina.                         Nygard’s assistant asked her
                                                    if she was okay and if she
         Nygard gave her approximately $5,000       would ever return to Nygard
         in $100 bills in U.S. currency. She        Cay. Jane Doe No. 2
         initially refused to take the money, but   responded that she would
         Nygard insisted.                           think about it. Nygard’s
                                                    assistant explained that
         She was a virgin prior to being raped by   Nygard was not really a bad
         Nygard.                                    person but was just selfish at
                                                    times.
         On another visit to a “pamper party,”
         Nygard had her play with his genitals      On a separate occasion, a
         and had her penetrate his anus with a      ComCor employee texted
         lubricated dildo.                          her to come to another
                                                    “pamper party.”
         After this second instance of rape,
         Nygard began paying her to be a Nygard     After her other visit to
         model and to recruit other young girls     Nygard Cay, during which
         for him to sleep with, so that she would   she was forced to play with
         not have to satisfy his perverse sexual    Nygard’s genitals and
         desires herself. Nygard would instruct     penetrate his anus with a
         her to offer the young girls drugs. Each   dildo, she received
         time that she visited Nygard Cay and       numerous text messages
         recruited girls for him, Nygard gave her   from a Nygard ComCor
         a large sum of cash—never less than        employee inviting her to
         $2,000 and always in U.S. currency.        travel with Nygard to Ohio,
                                                    Canada, and New York.
         At another visit to Nygard Cay for a
         “pamper party,” Nygard insisted that she The Nygard Companies
         defecate and/or urinate in his mouth.    supplied the cash paid to the
         She responded that she did not wish to   victim.
         do that to him. He offered to give her
         drugs that would help her defecate. She
         told Nygard no and decided that she
         could no longer take Nygard’s perverse
         sexual fetishes.

15   3   Jane Doe No. 3 is the older cousin of      A ComCor employee, found
         Jane Doe No. 4 (referenced in the row      Jane Doe No. 3 in her
         below).                                    neighborhood and arranged

                              14
                                                    for her to be picked up and
         In Nygard’s bedroom during a “pamper       escorted to Nygard Cay the
         party,” he offered her two glasses of      next day for a “pamper
         wine, which she accepted.                  party.”

         Nygard asked her if she had sex before;    At the “pamper party,” the
         she said no. At this point, she became     ComCor employee ushered
         afraid.                                    Jane Doe No. 3 to Nygard’s
                                                    bedroom, where he was
         Nygard sat her on the bed and began to     waiting.
         rub her legs and face. He sat down next
         to her and slowly pushed her body back      After Nygard raped Jane
         onto the bed. Nygard took a condom          Doe No. 3 in his bedroom,
         from the drawer and put it on. He began     the ComCor employee
         kissing her on her stomach; she began       returned to the bedroom to
         trembling in fear.                          pick up Jane Doe No. 3. The
                                                     ComCor employee asked
         She shouted “no” and began to cry.          Jane Doe No. 3 if she was
         Nygard grabbed her closer, put all of his okay. Jane Doe No. 3
         weight on her, and penetrated her vagina responded that she was
         with his penis. She told him to stop and afraid.
         resisted him, but he continued.
                                                     Before Jane Doe No. 3 left
         After Nygard ceased vaginally raping        the ComCor employee, on
         her, she was bleeding from her vagina.      behalf of Nygard, handed
         There was also blood on the sheets.         Jane Doe No. 3
                                                     approximately $200 in U.S.
         At another “pamper party” at which Jane currency.
         Doe No. 3 and her cousin, Jane Doe No.
         4, were present, Jane Doe No. 3’s           The week following Nygard
         mother came outside the Nygard Cay          raping Jane Doe No. 3 at a
         gate and threatened to call the police if   “pamper party,” Jane Doe
         they did not let her in to retrieve the     No. 3’s friends showed her a
         girls. Jane Doe No. 3’s mother was          text message from the
         shouting at the gate to retrieve the girls. ComCor employee, who
         Ultimately, Jane Does Nos. 3 and 4 left     instructed them to go to
         with Jane Doe No. 3’s mother.               Nygard Cay.

                                                    The Nygard Companies
                                                    supplied the cash paid to the
                                                    victim.

14   4   Jane Doe No. 4 is the younger cousin of    She was registered at the
         Jane Doe No. 3 (referenced in the row      security station at the
         above).                                    Nygard Cay gate when
                                                    attending a “pamper party.”

                             15
At the “pamper party,” she was given an
alcoholic drink.                             A ComCor employee was
                                             with Jane Doe No. 4 at the
Nygard escorted her to his bedroom.          “pamper party.”
Once they arrived in the bedroom,
Nygard invited her to get comfortable on The Nygard Companies
the bed. Nygard turned on the            supplied the cash paid to the
television, which was playing            victim.
pornography showing a woman having
oral sex with a man.

Nygard sat down on the bed next to her
and began stroking her hair and rubbing
her back. She was uncomfortable and
asked him if this was his way of talking
about modeling, and he replied that he
just wanted to have sex with her.
Nygard began removing his clothes and
moved toward her. He pulled the strings
on her bathing suit, removing it, and
began licking her neck, moving
downward until he began performing
oral sex on her.

She attempted to close her legs, but
Nygard pushed them open. She
continued to try to close her legs, but he
overpowered her.

Nygard then moved upward and began
to penetrate her vagina with his penis.

After some time, he then instructed her
to perform oral sex on him until he
ejaculated.

Prior to this rape, she was a virgin.

Afterwards, Jane Doe No. 4 went into
the bathroom and took a shower.
Nygard gave her a white envelope when
she came out and told her “this is for
you.” Nygard then told her to give him
his contact information and that he
would contact her about modeling. The



                     16
         envelope contained approximately
         $5,600 in U.S. currency.

17   5   Jane Doe No. 5’s friend, invited her to a   Jane Doe No. 5 and her
         “pamper party.” While at the party,         friend were transported to
         Jane Doe No. 5 consumed multiple            and from Nygard Cay by a
         alcoholic beverages.                        Nygard Company employee.

         While they were drinking on the beach,      Upon arriving, they were
         Nygard approached her friend and            registered by the Nygard
         gestured at her to follow him. Her friend   Companies’ ComCor
         motioned to Jane Doe No. 5 to come          employees.
         with her because she did not want to go
         with Nygard alone.                          The Nygard Companies
                                                     supplied the cash paid to the
         Nygard took them up to his bedroom          victim.
         and gave them more to drink. Jane Doe
         No. 5 began to feel very “loose.”
         Nygard instructed the girls to touch one
         another sexually, and they complied.
         After several minutes, Nygard joined
         and began touching the girls.
         During the encounter, Nygard
         sodomized Jane Doe No. 5 against her
         will. Afterwards, she was bleeding from
         her anus.

         Nygard then asked the girls to defecate
         on him, but neither of them could do so.

         Nygard gave Jane Doe No. 5 $200 in
         U.S. currency and led the girls
         downstairs. He gave permission for
         them to leave, and they were driven
         home.

15   6   Jane Doe No. 6 was invited to Nygard        Jane Doe No. 6 was invited
         Cay by the Nygard Cay DJ, named             to a “pamper party” at
         “Shorts.”                                   Nygard Cay by the Nygard
         While at the “pamper party,” an             Cay DJ, “Shorts.”
         acquaintance introduced her to Nygard
         and told her Nygard could get her some      The Nygard Companies
         marijuana to smoke. Nygard invited her      supplied the cash that
         upstairs to smoke marijuana.                Nygard attempted to pay the
                                                     victim.



                              17
         Nygard took her to his bedroom. He
         undressed and got into the Jacuzzi.
         After Jane Doe No. 6 declined to get in
         with him, he got out of the Jacuzzi and
         began to undress her.

         Nygard asked her to defecate in his
         mouth but she said no.

         Nygard began fondling her and stuck his
         finger in her anus. She tried to fight
         Nygard off and told him to stop, but the
         more she fought the more aggressive he
         became.

         Nygard attempted to sodomize Jane Doe
         No. 6 but was unable to penetrate her
         anus. He then raped her vaginally.

         Nygard instructed Jane Doe No. 6 to
         take a wad of cash in U.S. currency, but
         she refused. He gave her and her friends
         permission to leave, and they drove
         home. She never returned to Nygard
         Cay.

18   7   Jane Doe No. 7 was invited to a            Upon arriving, Jane Doe No.
         “pamper party” at Nygard Cay by a          7 was registered by the
         friend. Upon arrival, she was registered   Nygard Companies’
         with ComCor and her photo was taken.       ComCor employees.

         Jane Doe No. 7 had several alcoholic       The Nygard Companies
         beverages at the “pamper party.”           supplied the cash paid to the
         Nygard approached her and led her          victim.
         upstairs to his bedroom.

         Nygard invited her into the Jacuzzi and
         began making sexual advances, but she
         resisted.
         Nygard then made a drink for Jane Doe
         No. 7, which she drank completely.
         Afterwards, she felt nauseated and very
         sleepy.

         Nygard asked Jane Doe No. 7 to urinate
         in his mouth. She does not recall what

                             18
            happened next because she was in and
            out of consciousness.

            Jane Doe No. 7 awoke, there was blood
            in the back of her underwear, and she
            had pain in her anus. Nygard gave her
            $550 in U.S. currency and sent her
            away.

 29     8   Jane Doe No. 8 was a key employee of       Jane Doe No. 8 was
            Nygard Cay for several years, providing    employed and paid by the
            services for guests and for Nygard from    Nygard Companies. Jane
            2008-2014.                                 Doe No. 8’s continued
                                                       employment with the
            In 2014, Jane Doe No. 8 was raped. She     Nygard Companies was
            rarely drinks while at work; however,      conditioned upon sex with
            she accepted a glass of wine from one of   Nygard.
            Nygard’s girlfriends shortly before
            being summoned to Nygard’s room.           Resources of the Nygard
            Shortly after arriving, she noticed her    Companies were used to
            arms become numb and then she fell         abduct Jane Doe No. 8.
            unconscious. When she became alert
            again, Nygard was in the act of
            penetrating her vagina with his penis.

            She continued to work there after this
            incident out of financial necessity,
            although she did what she could to avoid
            coming in contact with him. Nygard
            demanded that Jane Doe No. 8 begin to
            have sex with him regularly as a
            requirement of keeping her job; when
            she refused, she was terminated.

            In April of 2017, Jane Doe No. 8 was
            abducted for four days and flown to
            Toronto and Fort Lauderdale by
            employees of Nygard, in furtherance of
            Nygard’s agenda.

Adult   9   Jane Doe No. 9 was an employee of          Jane Doe No. 9 was an
            Nygard and the Nygard Companies.           employee of the Nygard
            Over the years she was sexually            Companies. Nygard used
            assaulted by Nygard on numerous            her continued employment
            occasions.                                 and payment as a means to



                                19
                           In 2015, she was raped by Nygard at his control and to coerce her
                           residence in Marina Del Ray, California. into sex acts.
                           He overrode the lock on her guest room
                           bedroom and entered without her
                           permission. She awoke to him
                           forcefully and physically attempting to
                           rape her. Despite her attempts to resist
                           and to tell him “no,” he forcefully
                           penetrated her.

        15           10    Jane Doe No.10 attended a “pamper            The Nygard Companies paid
                           party” at Nygard Cay when she was            for the food and drugs that
                           fifteen years old. After eating food at      were provided to Jane Doe
                           Nygard Cay, she began to feel dizzy and      No. 10.
                           nauseous.
                                                                        The Nygard Companies paid
                           Jane Doe No. 10 was approached by            the employees, including
                           Nygard and his security guard and was        Nygard’s security guard,
                           taken to his bedroom, where Nygard           that worked and organized
                           began making sexual advances toward          the “pamper party.”
                           her.

                           Jane Doe No. 10 told Nygard that she
                           was fifteen years old and that she was
                           not feeling well. Nygard gave Jane Doe
                           No. 10 a white pill and told her it would
                           make her feel better.

                           Nygard then raped Jane Doe No. 10,
                           both vaginally and anally. Nygard also
                           offered Jane Doe No. 10 money to
                           defecate in his mouth.

                           Following the rape, Jane Doe No. 10
                           subsequently sought medical treatment
                           and received two stitches in her anus to
                           stop the bleeding.

       29.     Nygard’s conduct, as outlined above, violates the TVPA, which outlaws using

means of interstate or foreign commerce to recruit, entice, obtain, or lure a person and force or

coerce that person, or knowing that the person had not attained the age of eighteen years, to engage




                                                20
in commercial sex acts. The Nygard Companies are guilty of aiding and abetting Nygard’s

violations of the TVPA by knowingly facilitating and enabling his illegal conduct.

       30.     The Nygard Companies also directly violated the TVPA because they knowingly

benefitted from participation in Nygard’s venture with knowledge, or in reckless disregard of the

fact, that Nygard used means of force, threats of force, fraud, and coercion to force children and

women into engaging in commercial sex acts.

                                 JURISDICTION AND VENUE

       31.     This Court has federal question subject-matter jurisdiction pursuant to 28 U.S.C. §

1331, because Plaintiffs bring this action—individually and on behalf of the other Class

members—under the federal TVPA statute.

       32.     This Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a),

because all claims alleged herein are part of a uniform pattern and practice and form part of the

same case or controversy.

       33.     This Court is “an appropriate district court of the United States” in accordance with

18 U.S.C. § 1595, as venue is proper in this District under 28 U.S.C. § 1391(b)(2), because Nygard

Inc. and Nygard International, both headquartered near Times Square in New York City, conduct

substantial activities in this District and knowingly aided and abetted, facilitated, and directly

participated in Nygard’s illegal venture through actions that originated in this District. Venue is

also proper in this District under 28 U.S.C. § 1391(b)(3), because Defendants are subject to

personal jurisdiction in this District and there is no other district where the action may be brought.

                                             PARTIES

A.     Plaintiffs

       34.     Plaintiffs Jane Does Nos. 1-10 are using pseudonyms to protect their identities

because of the sensitive and highly personal nature of this matter.
                                                 21
        35.       Plaintiffs are also at serious risk of retaliatory harm because Nygard has tremendous

wealth and power and has used it to retaliate against others who have attempted to come forward,

including by means of arson, property destruction, and threats of physical violence.

        36.       Plaintiffs are also particularly vulnerable because of the trauma that they have been

subjected to, their socioeconomic status, and the corruption of local law enforcement by Nygard

through bribery and political influence.10

        37.       Plaintiffs’ safety, right to privacy, and security outweigh the public interest in their

identification.

        38.       Plaintiffs’ legitimate concerns outweigh any prejudice to Defendants by allowing

Plaintiffs Jane Does Nos. 1-10 to proceed anonymously.

        39.       Jane Doe No. 1 is a Bahamian citizen, born in Nassau, New Providence, the

Bahamas, on March 28, 2001. In July 2015, Jane Doe No. 1 was vaginally raped by Nygard at the

age of fourteen, while attending a “pamper party” at Nygard Cay. Nygard lured her to his bedroom

under false promises of a future modeling contract. Following the rape, she was paid by Nygard

in U.S. currency from the Nygard Companies. She never returned to Nygard Cay.

        40.       Jane Doe No. 2 is a Bahamian citizen, born in Nassau, New Providence, the

Bahamas, on March 14, 1997. In August and November 2011, Jane Doe No. 2 was vaginally raped

by Nygard at the age of fourteen, while attending “pamper parties” at Nygard Cay. She attended

the “pamper parties” and Nygard lured her to his bedroom under false promises of a future

modeling contract. Following the rape, Nygard paid her approximately $5,000 in U.S. currency


10
   See, e.g., https://www.youtube.com/watch?v=Pw1xUXQNelg;
http://www.tribune242.com/news/2018/feb/14/nygard-outright-bribery-plp/;
http://www.tribune242.com/news/2014/jun/25/nygard-gave-money-plp-then-asked-help-over-
land-is/; http://www.tribune242.com/news/2017/may/05/fresh-questions-over-las-vegas-trip-pm-
gibson-and-/

                                                    22
from the Nygard Companies. She attended several “pamper parties” at Nygard Cay subsequent to

2011, and Nygard paid her with cash from the Nygard Companies to “recruit” and/or “procure”

other young girls for him to commit commercial sex acts with.

       41.    Jane Doe No. 3 is a Bahamian citizen, born in Nassau, New Providence, the

Bahamas, on July 25, 1995. In June 2011, Jane Doe No. 3 was vaginally raped by Nygard at the

age of fifteen, while attending a “pamper party” at Nygard Cay. Jane Doe No. 3 was lured to

Nygard Cay under false promises of a job there.         Following the rape, Nygard paid her

approximately $200 in U.S. currency from the Nygard Companies.

       42.    Jane Doe No. 4 is a Bahamian citizen, born in Nassau, New Providence, the

Bahamas, on February 12, 1997. In June 2011, Jane Doe No. 4 was vaginally raped by Nygard at

the age of fourteen, while attending a “pamper party” at Nygard Cay. Nygard lured Jane Doe No.

4 to his bedroom under a false promise of a modeling contract. Following the rape, Nygard paid

her approximately $5,600 in U.S. currency from the Nygard Companies. She never returned to

Nygard Cay.

       43.    Jane Doe No. 5 is a Bahamian citizen born, in Nassau, New Providence, the

Bahamas, on August 7, 1992. In July 2009, Jane Doe No. 5 was anally raped by Nygard at the age

sixteen, while attending a “pamper party” at Nygard Cay. Following the rape, Nygard paid her

approximately $200 in U.S. currency from the Nygard Companies. She never returned to Nygard

Cay.

       44.    Jane Doe No. 6 is a Bahamian citizen, born in Nassau, New Providence, the

Bahamas, on August 28, 1992. In August 2008, Jane Doe No. 6 was vaginally raped by Nygard

at the age of fifteen, while attending a “pamper party” at Nygard Cay. Following the rape, Nygard




                                               23
offered her cash from the Nygard Companies and she refused it. She never returned to Nygard

Cay.

       45.     Jane Doe No. 7 is a Bahamian citizen born on April 13, 1992. In 2010, Jane Doe

No. 7 was anally raped by Nygard at the age of eighteen, while attending a “pamper party” at

Nygard Cay. Following the rape, Nygard paid her approximately $550 in U.S. currency from the

Nygard Companies. She never returned to Nygard Cay.

       46.     Jane Doe No. 8 is a Bahamian citizen born on September 12, 1984. In 2014, Jane

Doe. No. 8 was vaginally raped by Nygard at the age of 29 or 30, while serving as an employee at

Nygard Cay. Following the rape, Nygard offered her cash in U.S. currency from the Nygard

Companies. She was terminated from her employment when she refused to continue engaging in

sexual relations on an ongoing basis with Nygard. Between April 6, 2017 and April 10, 2017,

Nygard caused Jane Doe No. 8 to be kidnapped and transported to Toronto and Fort Lauderdale.

       47.     Jane Doe No. 9 is a United States citizen. She was an employee of Nygard and the

Nygard Companies. Throughout her time as an employee of Nygard and the Nygard Companies,

she was sexually assaulted by Nygard on multiple occasions. In 2015, Nygard forcefully raped

Jane Doe No. 9 at his residence in Marina Del Ray, California. Nygard used her continued

employment with and payment by the Nygard Companies as a means to control and coerce Jane

Doe No. 9 into commercial sex acts.

       48.     Jane Doe No. 10 is a Bahamian citizen, born in Nassau, New Providence, the

Bahamas, on August 19, 1988. When Jane Doe No. 10 was fifteen years old, she was drugged and

raped, both anally and vaginally, by Nygard while attending a “pamper party.” Nygard offered

her $5,000 prior to raping her and later offered her $10,000 to defecate in his mouth.




                                                24
B.       Defendants

         49.    Defendant Peter J. Nygard is a Finnish and Canadian citizen with permanent

residences in the United States, including in New York City, Los Angeles, and Florida. He is the

founder, chairman, figurehead, icon, and, directly or indirectly, the 100% owner of the Nygard

Companies.

         50.    Through the Nygard Companies, as Nygard himself alleged in United States federal

court, he “carries on business at various locations around the world as a designer, manufacturer,

distributor, and seller of women’s clothing and accessories. Mr. Nygard and his business are

closely associated in the public eye.”11

         51.    Nygard regularly travels to the United States, spends substantial time at his

residence in this District, and conducts substantial business in this District through his global

headquarters and flagship store, which are located in this District.12

         52.    Defendant Nygard Inc. is a Delaware corporation that distributes women’s apparel

with its global headquarters in New York City.

         53.    Nygard Inc. conducts substantial business in this District and at various other

locations in the United States and around the world.

         54.    Defendant Nygard International is a Canadian corporation that has its

administrative offices in Winnipeg, Canada and its global headquarters in New York City.13


11
  See Complaint at ¶¶ 1, 31, Nygard, et al. v. Dipaolo, et al., No. 17-cv-60027 (S.D. Fla. Jan. 5,
2017).
12
     See https://vimeo.com/160922029
13
   https://corporate.nygard.com/about-nygard/ (“Along with its corporate headquarters located in
the heart of Times Square, the company lays claim to complete design, production and
distribution facilities in Los Angeles, Toronto and Winnipeg, superb research and design studios
in New York and Shanghai, and sales offices throughout Canada and the U.S.”);
https://www.linkedin.com/company/nygard-international/about/ (“Along with its new World
Headquarters located in the heart of Times Square, the company lays claim to complete design,
                                                 25
          55.    Nygard International conducts substantial business in this District and various other

locations in the United States and around the world.14

          56.    Defendant Nygard Holdings is a Bahamian shell corporation registered in the

Bahamas.

          57.    Nygard uses Nygard Holdings as a depository for funds from Nygard International,

from which Nygard pays for his illegal sex trafficking venture.

          58.    There is no corporate distinction between or among the Nygard Companies. At all

times relevant herein, Nygard was the sole owner and executive of the Nygard Companies, their

funds were commingled, and the companies do not observe any corporate formalities. Every

aspect of the Nygard Companies’ business is controlled exclusively by Nygard, and nothing can

happen without his express direction or authorization.

          59.    Nygard also regularly invokes the jurisdiction of the United States courts, in his

personal capacity and through his companies, by regularly filing lawsuits therein.15

          60.    The Nygard Companies knowingly aided and abetted, facilitated, and directly

participated in Nygard’s illegal venture by paying for and hosting “pamper parties” under the

Nygard brand, withdrawing large sums of cash, paying employees at all such events, allowing use




production & distribution facilities in Los Angeles, Toronto & Winnipeg and superb research &
design studios worldwide.”).
14
     https://corporate.nygard.com/about-nygard/
15
   See, e.g. Nygard, et al. v. Dipaolo, et al., No. 17-cv-60027, 2017 WL 4303825 (S.D. Fla. Jan.
5, 2017); Nygard International Partnership v. Feralio, No. B266683, 2017 WL 4784925 (Cal.
Ct. App. Oct. 24, 2017); Nygard v. Jasper, No. 8:15-cv-1939-T-33EAJ, 2016 WL 9526666
(M.D. Fla. Jan. 4, 2016); Nygard, Inc. v. Uusi-Kerttula, 159 Cal.App.4th 1027 (Cal. Ct. App.
2008); Nygard, Inc. v. Kustannusosakeyhtio Iltalehti, No. B192639, 2007 WL 1775963 (Cal. Ct.
App. June 21, 2007).

                                                  26
of the Company-owned “N-Force” jet16 to transport Nygard’s victims from the Bahamas to other

destinations in the United States and around the world, allowing use of the company-owned boat

to transport liquor, drugs, and supplies for “pamper parties,” and paying for Nygard’s commercial

sex acts with Jane Does Nos. 1-10 and the other Class members, among other actions.

       61.     The Nygard Companies also benefit from such activity by using the “pamper

parties,” Nygard’s playboy image, and the Nygard Cay property to promote the Nygard brand and

products to consumers in the Bahamas and elsewhere.17

       62.     Several of Nygard’s victims were also coerced into labor trafficking that directly

benefited the Nygard Companies. Those being labor trafficked were forced to work exceptionally

long hours with little sleep for no additional payment. Often, the jobs they were hired to perform

would be expanded by Nygard to include countless other duties with no additional pay.

                    THE TRAFFICKING VICTIMS PROTECTION ACT

       63.     The TVPA outlaws sex trafficking activities that affect interstate or foreign

commerce or take place within the territorial jurisdiction of the United States. It is to be construed

broadly because it serves a remedial purpose and uses intentionally broad language.

       64.     The TVPA makes it unlawful for:

               (a) Whoever knowingly—

                   (1) in or affecting interstate or foreign commerce, or within the special
                   maritime and territorial jurisdiction of the United States recruits, entices,
                   harbors, transports, provides, obtains, advertises, maintains, patronizes, or
                   solicits by any means a person; or

16
  See https://corporate.nygard.com/2005/07/15/ilta-sanomat-fashion-moguls-plane-will-house-a-
sauna-private-movie-theatre-a-disco/.
17
   See, e.g., http://www4.nygard.com/SCF/NygardCayBahamas.aspx?ID=38&Folder_id=55
http://www4.nygard.com/scf/News.aspx?id=7826https://www.youtube.com/watch?v=WPFz3_yf
j2I; https://www.youtube.com/watch?v=WUzW-Y0qRB0;
https://www.youtube.com/watch?v=Dx23m_Op0J0;
https://www.youtube.com/watch?v=cwRdiTSY_dM

                                                 27
                    (2) benefits, financially or by receiving anything of value, from participation
                    in a venture which has engaged in an act described in violation of paragraph
                    (1),

                        knowing, or, except where the act constituting the violation of paragraph
                        (1) is advertising, in reckless disregard of the fact, that means of force,
                        threats of force, fraud, coercion described in subsection (e)(2), or any
                        combination of such means will be used to cause the person to engage in a
                        commercial sex act, or that the person has not attained the age of 18 years
                        and will be caused to engage in a commercial sex act, shall be punished as
                        provided in subsection (b).18

          65.    As alleged herein, Defendants have knowingly used interstate and foreign

commerce to violate the TVPA by enticing and recruiting Jane Does Nos. 1-10 and the other Class

members knowing, or in reckless disregard of the fact, that fraud, threats of serious harm, coercion,

and physical force, or knowing that the victim had not attained the age of eighteen years, would

cause the victims to engage in commercial sex acts.

          66.    The TVPA’s civil provision, 18 U.S.C. § 1596, applies extraterritorially to all

violations that occurred after December 19, 2003, wherein the alleged offender is a national of the

United States; an alien lawfully admitted for permanent residence; or is present in the United

States. The violations against Jane Does Nos. 1, 2, 3, 4, 5, 6, 7, 8, and 10 occurred in the Bahamas

after December 19, 2003, and/or occurred within the territorial jurisdiction of the United States,

and the Defendants are lawfully admitted to the United States for permanent residence and/or are

present in the United States.

          67.    The TVPA also applies to Nygard’s conduct abroad because the locus of the Nygard

Companies, which supplied resources including cash payments to the victims, is in New York




18
     18 U.S.C. § 1591(a).

                                                 28
City. Further, Nygard has substantial contacts with the United States, both individually as well as

through the Nygard Companies.

       68.       The Nygard Companies aided and abetted, facilitated, and directly participated in

Nygard’s venture through conduct that originated and/or occurred in the United States.

       69.       Nygard uses the Nygard Companies’ money, brand, and resources to facilitate and

commit commercial sex acts in the United States, the Bahamas, and elsewhere around the world.

The Nygard Companies fund all of Nygard’s “pamper parties” by transferring cash from the

company’s bank account in Canada and routing it through New York, the Nygard Companies’

worldwide headquarters.       All “pamper party” employees and supplies including, without

limitation, food, alcohol, drugs, and entertainment, are paid for from a Nygard Holdings account

that is funded directly by Nygard International. And, critically, the cash that Nygard uses to pay

his victims after raping and/or sexually assaulting them, comes from the Nygard Companies.

       70.       The Nygard Companies have their global headquarters in New York City and have

actual knowledge of Nygard’s illegal activity through Nygard—the founder, chairman, and 100%

owner of the companies at the time of the acts detailed in this Complaint. Other finance personnel,

among others, know or should know about Nygard’s illegal activity, because they are routinely

sending tens of thousands of dollars per month in U.S. currency, without substantiation or controls,

to Nygard.

       71.       Nygard has a permanent residence in New York City, which is above his flagship

store on 40th Street and Broadway, near Times Square. The building is leased by Nygard

International.

       72.       Nygard also has residences in Los Angeles and Florida.




                                                29
       73.     Nygard also owns companies, Nygard NY Retail, LLC, Nygard Partners, LLC, and

Orion Asset Management, Inc., each of which is a New York corporation.

       74.     Nygard enticed and coerced some of his victims, as alleged herein, to engage in

commercial sex acts in, among other places, Los Angeles and New York City.

       75.     Nygard uses his “N-Force” jet to transport his victims from the Bahamas to his

residences in New York, California, and Florida, as well as elsewhere around the world.

       76.     Nygard uses the Nygard Companies-owned boats, which are docked in Florida for

months at a time, to transport drugs, liquor, and supplies for “pamper parties.”

       77.     Nygard also uses the Nygard Companies’ resources, including, without limitation,

the “N-Force” jet and boats, to smuggle women, drugs, liquor, and other supplies into and out of

various jurisdictions including, without limitation, the United States and the Bahamas.

       78.     Nygard uses employees paid by the Nygard Companies, who use Company phones,

computers, email, and social media accounts to entice and lure his victims to locations in the United

States, the Bahamas, and Canada, so that Nygard can use fraud and coercion to force them, or,

knowing that the victim has not attained the age of eighteen years, to engage in commercial sex

acts. He also keeps a database of potential victims that is maintained by the corporate IT

department on the Nygard Companies’ corporate server.

       79.     Given these substantial and systematic contacts between the United States and

Nygard’s misconduct in the United States, the Bahamas, and elsewhere, it is neither arbitrary nor

unfair to exercise application of the TVPA for Defendants’ activities that partially occurred in the

Bahamas and elsewhere around the world.

       80.     Application of the TVPA is also consistent with international law by virtue of the

Palermo Protocols, which are three protocols adopted by the United Nations to supplement the



                                                 30
2000 Convention against transnational organized crime, including the Protocol to Prevent,

Suppress and Punish Trafficking in Persons, especially Women and Children.

                                   FACTUAL ALLEGATIONS

A.        Peter J. Nygard is Synonymous with the Nygard Companies.

          81.    Defendant Peter J. Nygard is a renowned fashion figure and executive in the

women’s apparel industry. He has an estimated net worth of approximately $900 million through

various business entities that he owns in the fashion industry.19

          82.    Defendant Nygard Inc. is a Delaware corporation that distributes women’s apparel

with its global headquarters in New York City, New York.

          83.    Defendant Nygard International is a Canadian corporation that is one of the largest

women’s clothing manufacturers and suppliers in the world, with annual sales exceeding $500

million. Nygard International has its administrative offices in Winnipeg, Canada and its global

headquarters in New York City.20




19
   https://www.youtube.com/watch?v=yH0ODUKH1qE;
https://www.youtube.com/watch?v=L1x-Vrn-33M;
https://www.youtube.com/watch?v=iK5hlWl5qLc
20
     https://corporate.nygard.com/about-nygard/

                                                  31
          84.      Defendant Nygard Holdings is a Bahamian shell corporation registered in the

Bahamas. It does not engage in active business or trading activities.

          85.      Nygard uses Nygard Holdings as a depository for funds, routed through New York,

from Nygard International, from which Nygard pays for his illegal sex trafficking venture.

          86.      Nygard is the founder, chairman, figurehead, icon, and was, directly or indirectly,

the 100% owner of the Nygard Companies at the time of the events described in this Complaint.21

He controls every aspect of the Nygard Companies’ business, and nothing can be done without his

express authorization or direction. Nygard commingles the Nygard Companies’ funds, uses the

Nygard Companies as his own personal bank account, and does not observe any corporate

formalities.

          87.      Nygard admits in public filings that he and his businesses are “closely associated

in the public eye.”22

          88.      The Nygard Companies’ promotional materials and advertisements also make the

companies synonymous with “one man,” Nygard, who is featured individually on almost all

promotional materials and advertisements.23




21
  See Complaint at ¶ 1, Nygard, et al. v. Dipaolo, et al., No. 17-cv-60027 (S.D. Fla. Jan. 5,
2017).
22
     Id. at ¶¶ 1, 31.
23
     See, e.g., video at https://corporate.nygard.com/

                                                   32
         89.   In addition, Nygard and his businesses are “closely identified in the public mind,

similar to other fashion houses,” as illustrated by the corporate billboard in the heart of Times

Square.24




         90.   The Nygard Companies have also trademarked the name “Peter J. Nygard.”

         91.   The Nygard Companies’ promotional materials prominently feature his Nygard

Cay property (he even named the property after himself and the company).25 The Nygard brand

and logo is also featured prominently at Nygard Cay, and all events hosted at Nygard Cay are the

Nygard Companies’ corporate functions.26


24
  See Complaint at ¶ 31, Nygard, et al. v. Dipaolo, et al., No. 17-cv-60027 (S.D. Fla. Jan. 5,
2017).
25
     See https://www.youtube.com/watch?v=GQRDS-KlOw0; https://vimeo.com/160922029
26
   See
http://pimpingpictures.com/Jarmopohjaniemi.com/Blog/Entries/2008/6/11_Nygard_Cay_Hosts_
Playboy_Shoot.html

                                                33
       92.    Nygard and the Nygard Companies also use the Nygard Cay property to promote

the Nygard Companies’ brand by renting it out and having events and parties with celebrities and

politicians including, among others, Oprah Winfrey, George H.W. Bush, Robert De Niro, and Sean

Connery.27




       93.    Nygard uses the Nygard Cay property, his customized “N-Force” jet, his boat, and

his New York City apartment above his flagship store—each of which is owned or leased by the

Nygard Companies or companies affiliated with the Nygard Companies—to promote himself and

the Nygard Companies and, at the same time, facilitate the commission of his crimes, as noted

throughout this Complaint.




27
   See https://www.lawcrossing.com/article/3372/Indulge-in-the-Pleasures-of-Nygard-Cay/; see
also https://corporate.nygard.com/2006/12/09/nygards-cay-an-island-of-fantasy-the-ultimate-
treehouse/

                                              34
         94.    Nygard hosts “pamper parties,”28 under the Nygard brand, as a means to further his

illegal venture and also benefit the brand of the Nygard Companies.29 The “pamper parties” and

all supplies—including alcohol and drugs provided to minors—are paid for by the Nygard

Companies.

         95.    Employees that staff the “pamper parties” are also paid by the Nygard Companies

with funds routed through New York City.

         96.    In addition to staffing the parties with bartenders, cooks, servers, maids, and other

employees, the Nygard Companies also employ people to work at what Nygard refers to as

ComCor, who are used to ensure that potential victims attend the “pamper parties” by contacting

them and arranging for transportation.



28
     See https://www.youtube.com/watch?v=WPFz3_yfj2I
29
   See
http://pimpingpictures.com/Jarmopohjaniemi.com/Blog/Entries/2008/6/11_Nygard_Cay_Hosts_
Playboy_Shoot.html

                                                 35
       97.     The Nygard Companies’ ComCor employees also recruit and/or procure potential

victims for Nygard. ComCor employees are paid by the Nygard Companies.

       98.     When girls would be flown into the Bahamas on the “N-Force” jet for “pamper

parties,” the passengers would have their passports collected, their return flight was cancelled by

the travel agency personnel, and approval from Nygard was required to leave Nygard Cay and the

island. Nygard expected a sex act before he was willing to consider releasing any person.

       99.     Once Nygard selects his victim for the night, his employees are sometimes

instructed to drug the victims, by placing Rohypnol and/or other mind-altering drugs in their drinks

(referred to as “happy juice,” or “cocktails”), and to escort the victims to Nygard’s bedroom.

       100.    Nygard uses the “pamper parties” to both promote the Nygard Companies’ brand

and to facilitate commercial sex acts. He is acting on behalf of the Nygard Companies, under the

brand and reputation of the companies, and using funds of the companies to commit his crimes.

       101.    Nygard, Nygard, Inc., and Nygard International have invoked the jurisdiction of the

United States courts by filing lawsuits in the United States courts, as well as being “synonymous”

with Nygard Inc. and using Nygard Inc. to participate in his criminal venture for both his own

benefit and the benefit of the Nygard Companies.30




30
   See, e.g. Nygard, et al. v. Dipaolo, et al., No. 17-cv-60027, 2017 WL 4303825 (S.D. Fla. Jan.
5, 2017); Nygard International Partnership v. Feralio, No. B266683, 2017 WL 4784925 (Cal.
Ct. App. Oct. 24, 2017); Nygard v. Jasper, No. 8:15-cv-1939-T-33EAJ, 2016 WL 9526666
(M.D. Fla. Jan. 4, 2016); Nygard, Inc. v. Uusi-Kerttula, 159 Cal. App. 4th 1027 (Cal. Ct. App.
2008); Nygard, Inc. v. Kustannusosakeyhtio Iltalehti, No. B192639, 2007 WL 1775963 (Cal. Ct.
App. June 21, 2007).

                                                36
B.        Nygard is Able to Engage in A Uniform Pattern and Practice of Sex Trafficking Due,
          in Part, to Bahamian Culture, Political Corruption, and His Power in the Bahamas.

          1.       Sexual Crimes are Drastically Under-Reported in the Bahamas Due to Weak
                   Laws that are Poorly Enforced.

          102.     In 2007, the Bahamas had the highest rate of reported rapes in the world, and, in

2016, it had the highest incidence of rape per capita in the Caribbean. The UN Woman narrative

on gender-based violence in the Caribbean found that the worldwide average for rape was fifteen

per 100,000, while the Bahamas has an average of 133 per 100,000.31

          103.     Global estimates are that between 60 and 95 percent of sexual crimes go unreported

and that even those reported are unlikely to be prosecuted. Rape in particular is the most

underreported violent crime.32

          104.     Rape is particularly underreported in the Bahamas due to a culture of

stigmatization, victim shaming, government corruption, and weakly-enforced laws. For example,

in 2013, the Bahamas Crisis Centre in New Providence alone counselled 122 new clients for rape

and 42 for sexual assault, while, during that same period, the police recorded only 104 rapes for

the entire country.       During the same time period, data from Princess Margaret Hospital’s

emergency room alone shows it treated nearly 1.5 times the amount of country-wide rapes reported

to the police.33




31
   http://www.unodc.org/pdf/research/Cr_and_Vio_Car_E.pdf;
http://www.tribune242.com/news/2016/feb/16/bahamas-has-worst-total-region-rapes/.
32
   Heather Sutton, IDB Series on Crime and Violence in the Caribbean: Crime and Violence in
the Bahamas, June 2016, at 34-25, available at
https://publications.iadb.org/en/publication/12508/crime-and-violence-bahamas-idb-series-
crime-and-violence-caribbean.
33
     Id.; https://ewnews.com/711-rapes-presented-to-hospitals-since-july-2013

                                                   37
           105.   The local word for rape in the Bahamas is “hush.” It is not discussed or spoken of

as a societal problem.

           106.   In 2018, the State Department issued a travel advisory warning that “sexual assault

is common” in the Bahamas and advising tourists to exercise caution.

           107.   Rapes in the Bahamas also have very low police-clearance rates. On average, the

percentage of rape cases solved between 2010 and 2013 was 40 percent. This means that rapes

are highly unlikely to be prosecuted, which does little to stimulate better reporting.34

           108.   Another reason why sex crimes are so widely under-investigated and prosecuted in

the Bahamas is because violence against women and girls is often seen as a private matter, in which

the State should not interfere. A culture of acceptance interrelated with strong patriarchal gender

norms is prevalent, which can lead to failures in response by law enforcement.35

           109.   Due, in part, to these factors, scores of Nygard rapes and sexual assaults in the

Bahamas have gone unreported over the past three decades.

           2.     Political and Government Corruption Has Been Widespread in the Bahamas.

           110.   Political and governmental corruption is “rooted in the fabric of Bahamian

society.”36 The government has laws to combat corruption of and by public officials, but they are

inconsistently applied.37

           111.   According to one survey, despite one in ten Bahamians disclosing that they had

been forced to pay a bribe within the past year to obtain public services, few reported the corruption


34
     Id.
35
   Human Rights Council, Report of the Special Rapporteur on violence against women, its
causes and consequences, on her mission to the Bahamas, at 4 (May 25, 2018), available at
https://undocs.org/en/A/HRC/38/47/Add.2.
36
     http://www.tribune242.com/news/2018/apr/26/not-a-single-bribe-demand-is-probed/
37
     https://www.globalsecurity.org/military/world/caribbean/bs-corruption.htm

                                                  38
to law enforcement. According to the survey, almost half were too scared of the consequences—

such as potential retaliation and victimization—to report allegations of bribery by public officials.

Fear is a major obstacle to stamping out a problem that the Bahamian Prime Minister recently

estimated costs the Bahamian economy approximately $200 million per year.38

           112.   For this reason, few people in the Bahamas (approximately 6%) actually report

corruption when they experience it. Overwhelmingly, the survey showed that of those who

reported an incident of corruption to the authorities—not one respondent stated that the authorities

took action against the government officials involved. This is despite the evidence showing that

one in eight Bahamians (approximately 13%) who had contact with the police in the year prior to

October 2017 had paid a bribe in order to get services they needed.39

           113.   Bribery in the courts was also reported, with one in ten people who came into

contact with the courts having paid a bribe in the previous twelve months, demonstrating that there

is still an acute corruption risk in this key law and order institution (10%). The findings indicate

how corruption is undermining the rule of law and public safety in the Bahamas, in addition to the

Bahamians’ inability to police its borders and determine who can reside in the country.40

Corruption has become “a cultural element of the mindset of Bahamians[,]” and “[i]t’s rooted in

the fabric of society.”41

           114.   Additionally, the Royal Bahamas Police Force scored an unwanted first by

becoming the first police organization in the Caribbean to rank top for both receiving bribery

payments and being perceived as the country’s most corrupt public institution. As a result,


38
     http://www.tribune242.com/news/2018/apr/26/not-a-single-bribe-demand-is-probed/
39
     Id.
40
     Id.
41
     Id.

                                                 39
Bahamians are unwilling to report corruption and other crimes to law enforcement because they

don’t trust the police.42

           115.   Due to the low police clearance rates for investigations of sexual crimes and the

cultural attitude toward sexual crimes and the victims of such crimes, victims of sexual crimes in

the Bahamas rarely pursue their claims. They are ashamed and embarrassed, fear retaliation and

victimization, rightfully do not trust law enforcement to pursue and prosecute their attackers, and

do not trust the court system to provide them with justice.

           3.     Nygard has Significant Power and Influence in the Bahamas, Resulting from
                  His Chronic Bribery and Bahamian Political Contributions.

           116.   During the time-period relevant to this action, Nygard was well known in the

Bahamas as one of the wealthiest and most influential individuals with a home there.43 He has

also spent significant money to bribe Bahamian officials including, without limitation, law

enforcement, and to gain political influence and power on the island through political

contributions.44

           117.   Nygard made significant financial contributions and efforts in order to help the

Progressive Liberal Party (“PLP”) and its leader, Perry Christie (“Christie”) (the former Bahamian

Prime Minister from 2002-2007 and 2012-2017), gain power in the Bahamas by winning the 2012

election.45




42
     Id.
43
   See, e.g., https://www.youtube.com/watch?v=n6KOtR4G37U;
https://www.youtube.com/watch?v=d55fJKf8zsA
44
   See, e.g., https://www.youtube.com/watch?v=zKFjnnHXDGs;
https://www.youtube.com/watch?v=ih55gjHvEp8
45
   See http://www.tribune242.com/news/2013/jul/18/mp-concerns-nygard-donated-5m-plp/;
http://www.tribune242.com/news/2013/jul/23/nygard-admits-backing-plp-sworn-affidavit/

                                                  40
       118.    Nygard contributed at least $10 million (in U.S. or Bahamian currency) to get

Christie elected and paid to have individuals spread bad press about the party in power at the time,

the Free National Movement party (“FNM”). He also paid $300 to each person who would vote

for the PLP in the 2012 election. Nygard was thus able to successfully help Christie get elected,

in exchange for political favors and influence.

       119.    Nygard and Christie were in regular contact with one another before, during, and

after the 2012 election.46 Nygard regularly invited political figures, such as Bahamian Parliament

members including, without limitation, Shane Gibson and police officers, to attend his “pamper

parties.” The photograph below shows Shane Gibson at a “pamper party” in 2014.




46
  See, e.g., http://www.tribune242.com/news/2017/may/05/fresh-questions-over-las-vegas-trip-
pm-gibson-and-/

                                                  41
       120.   Nygard also provided PLP party members, including Shane Gibson and corrupt

police officers, with children and young women to engage in commercial sex acts with. Nygard

did so to gain influence with these politicians and law enforcement officials, as well as to gain

compromising information about them in order to exert his influence over them.




       121.   On September 5, 2012, shortly after the 2012 election, Prime Minister Christie and

other high-ranking members of the PLP visited Nygard at Nygard Cay.
                                                                                           Peter
                                                                                           Nygard

                                                                                                Perry
                                                                                                Christie




                                               42
       122.   Nygard also hosted high-ranking PLP officials at his Nygard Cay property to

celebrate the PLP election victory in 2012, including the following, without limitation: the

Minister of Housing & National Insurance, Shane Gibson; the Minister for Grand Bahamas, Dr.

Michael Darville; the Minister of Education, Jerome Gomez; the Minister of Agriculture, Alfred

Gray; the Minister of Housing & Environment, Ken Dorsett; the Minister of Health, Dr. Perry

Gomez; and the Director of Fertility, Dr. Wan Song.47




       123.   Bahamian Parliament member and PLP member, Shane Gibson, was paid

approximately $94,131.10 prior to the general election in 2012 and into 2013. The funds were

deposited directly to his account, and the payments were made with funds from the Nygard

Companies.




47
   See https://www.youtube.com/watch?v=Pw1xUXQNelg; see also
https://www.yotube.com/watch?v=jVfw9LOSOZo

                                              43
       124.   Eric Gibson, who is Shane Gibson’s brother, was also on Nygard’s payroll and was

paid directly by the Nygard Companies. It was known by Nygard’s ComCor employees to have a

check ready for Eric Gibson every week, but they did not know what work that he provided for

Nygard. Pat Smith, a PLP loyalist with connections to Perry Christie, was also provided with

payments from the Nygard Companies.




                                             44
         125.    Nygard was also close with Deputy Prime Minister Phillip “Brave” Davis (“Davis”)

and regularly met with him and paid bribes to him and his political aides.

         126.    Davis allegedly introduced Nygard to known Bahamian gangsters and convicted

criminals, Livingston “Toogie” Bullard and Wisler “Bobo” Davilma.48 Nygard paid “Toogie” and

“Bobo” with funds from the Nygard Companies to intimidate anyone who spoke out against him

or his initiatives by, among other means, directing them to firebomb his detractors’ vehicles and/or

businesses, instructing them to threaten to kill those who oppose him, and commit other acts of

violence and intimidation.49

         127.    Nygard used his political connections and bribes to successfully gain building

permits and to receive other favorable treatment including, without limitation, overlooking his

illegal activities.

         128.    Nygard had Bahamian police officers on his “payroll.” He used them to help “bury”

any reports of sexual abuse and intimidate, threaten to arrest, and otherwise harass his victims to

ensure that they would not come forward. Nygard often alludes to the fact, in front of his


48
   See
https://www.bahamaslocal.com/newsitem/147536/Court_documents_claim_Deputy_PM_sent_cr
iminals_to_protect_Nygards_interests.html; https://www.youtube.com/watch?v=xCa9LEJsg2I
(Nygard berating his security guard, Leo Thurston).
49
     See http://www.tribune242.com/news/2016/mar/10/claim-nygard-hired-hitmen/

                                                 45
“girlfriends,” that he is powerful enough in the Bahamas to have people killed without being

investigated.

       129.       Indeed, when Nygard learned of the investigation of his illegal sex trafficking, he

engaged lawyers to facilitate bribery payments to top Bahamian police officials to get more

information that would enable him to attempt to bribe victims or intimidate them into silence.

       130.       Nygard also regularly bribes Bahamian officials with U.S. currency from the

Nygard Companies to prevent customs from searching his plane, prevent customs from checking

the passports of the young women onboard, and to prevent customs from inspecting the

passengers’ luggage. This allows Nygard to traffic his victims to and from the Bahamas, transport

drugs intended for his victims, and transport other supplies for “pamper parties” in the Nygard

Companies’ plane to avoid paying customs.

       131.       Nygard does the same with the Nygard Companies’ boats and regularly transports

supplies and victims for his “pamper parties” from Florida to the Bahamas.

       132.       Nygard’s victims have been previously unable to come forward to report his illegal

activity and pursue their claims against him for several reasons including, without limitation,

cultural stigmatization, shame, weak laws that are rarely enforced, low clearance rates for sexual-

assault investigations, corrupt law enforcement and government officials, fear of Nygard’s wealth,

power, and influence in the Bahamas, and psychological manipulation and intimidation tactics

used by Nygard, including the commonly held belief that Nygard has bribed government officials

and the police.




                                                  46
C.     Nygard Engages in a Uniform Pattern and Practice of Sex Trafficking, Using the
       Nygard Companies’ Resources and Brand, for the Benefit of Himself and the Nygard
       Companies.

       133.    Nygard engages in a uniform pattern and practice to recruit, lure, and entice

children and women, knowing, or in reckless disregard of the fact, that means of force, fraud, and

coercion, or that the child had not yet attained the age of eighteen years, to cause the victims to

engage in a commercial sex act. Methods employed by Nygard to commit sex trafficking include,

but are not limited to, the use of physical force, threatening physical force, drugging victims,

promising lucrative modeling opportunities, providing money, confiscating his victim’s passports,

and preventing exit from the Nygard Cay property.

       134.    Nygard has targeted, and instructed his employees and associates to target, children.

Nygard primarily preys on young, vulnerable, and impoverished Bahamian girls because he knows

that they will not report his crimes to law enforcement, particularly in a climate where it is well

known that Nygard bribes government and police officials.

       135.    Among other deviant acts, Nygard often sodomizes his victims and asks them to

defecate on him, including in his mouth. He also requests that his victims urinate on him and

demands that victims on their menstrual periods provide him their menstrual blood for eating.

       136.    Due to the extreme deviant nature of Nygard’s sexual conduct, his victims feel even

more degraded, ashamed, and embarrassed than the typical sexual assault victim.

       1.      Nygard Uses His Nygard Cay Property to Further the Nygard Brand and
               Facilitate His Illegal Conduct.

       137.    In 1987, Nygard built a 150,000 square-foot compound on Lyford Cay in the

Bahamas, which became known as “Nygard Cay.” Nygard uses the property to host company

“pamper parties” to promote the Nygard brand and facilitate his sex trafficking. Nygard Cay is




                                                47
registered in the name of Peter Nygard and is used to promote the Nygard Companies brand and

all construction or maintenance that occurs on the property is paid for by the Nygard Companies.

       138.   Lyford Cay is a wealthy, gated community in the Bahamas. Upon entering Lyford

Cay, there is a large security gate stationed with security personnel. Only those with permission

may enter Lyford Cay. Not even police have the power to enter upon their own discretion.

       139.   Once entrance to Lyford Cay is granted, there is an additional fortress-like gate

surrounding the Nygard Cay property. Next to the gate and surrounding the entire property is a

fence equipped with barbed wire.




       140.   At the gate, there is a gate house with an office attached to it. The protocol for most

“pamper party” guests who enter Nygard Cay is that they must “register” with ComCor by

completing a form requesting personal information and taking a headshot and a full-body shot,

which is then added to ComCor database.




                                                48
       141.    Once they enter the property, no one at Nygard Cay is allowed to leave the property

without Nygard’s express permission. The security gate staff will not open the gate, unless they

are instructed to do so by Nygard himself. The walls of Nygard Cay are tall, equipped with barbed

wire, and surround the entire property. The only way out, other than the main gate, is to swim

through shark-infested waters.




       2.      Nygard Hosts Company “Pamper Parties” to Further the Nygard Brand and
               Facilitate His Illegal Conduct.

       142.    Nygard uses fraud and deceit to knowingly recruit, lure, and entice children and

women to his Nygard Cay property under the false pretense of attending weekly company

modeling events known as “pamper parties” and promising, among other things, interviews for

lucrative modeling opportunities when, in fact, he has no intention of fulfilling his empty promises.

       143.    “Pamper parties” are held out by Nygard and the Nygard Companies as modeling

events that are sponsored by the Nygard Companies.

       144.    On the surface, young girls and women are invited to enjoy the amenities of Nygard

Cay and are pampered for the day with free photo shoots, manicures, pedicures, and massages.

These parties are intended, in part, to promote the Nygard brand and its products. They are


                                                 49
promoted on the Nygard Companies’ website and through corporate social media accounts.

Females from the United States, the Bahamas, Jamaica, and elsewhere regularly attend “pamper

parties.”

        145.   Nygard also uses these “pamper parties” to facilitate his sex-trafficking ring. The

atmosphere at the “pamper parties” is intended to impress vulnerable and impoverished children

and young women, so that he can lure and entice his victims onto the Nygard Cay property with

promises of modeling contracts and coerce and force them, or knowing that they had not attained

the age of eighteen years, to engage in commercial sex acts.

        146.   Nygard regularly hosted “pamper parties” at Nygard Cay on Sundays when he was

in the Bahamas with the hidden purpose of facilitating his crimes.

        147.   Nygard also hosted “pamper parties” at his California property, located at Marina

Del Rey.

        148.   Generally, only females are permitted to attend the “pamper parties,” and all

attendees must be on a special list kept by Nygard’s ComCor. An example of correspondence with

ComCor follows:




                                               50
       149.    Only females that meet Nygard’s sexual specifications of being slim bodied and

beautiful are on the list. Nygard has also described the females he desires as an “eight in the face

and nice toilet.” Other girls that do not meet this qualification are turned away at the security gate.

       150.    Another example of ComCor correspondence follows:




       151.    Upon arrival at the gated Nygard Cay property, each of the potential victims is

required to “register” with the Nygard Companies’ ComCor, which is in charge of planning and

coordinating corporate events, by providing their personal information, including their name,

phone number, email address, and the identity of the person who invited them. Potential victims

are also required to pose for a headshot and a full-body photograph. The pictures and registration

forms are scanned and emailed directly to Nygard, using the Nygard Companies’ resources, so that

he can review who is in attendance from his bedroom.

       152.    The information is then entered into a database so that Nygard has a ready list of

“prospective recruits,” i.e., potential victims to pursue at any given time. The database contains




                                                  51
information and pictures of more than 7,500 girls, dating back to 1987. The database is hosted on

a corporate server and is maintained by the Nygard corporate IT department.

       153.    The most knowledgeable person about Nygard’s IT, Daane Clifford, recently died

at the age of 44. His family described it as a “sudden passing.” No further explanation or cause

of death has been forthcoming.

       154.    The Nygard Companies’ ComCor is used to keep track of, make contact with, and

recruit, lure, and entice potential victims to Nygard Cay through the database.

       155.    Nygard instructs these company-paid employees to call potential victims to invite

them to “pamper parties,” transport girls to and from the “pamper parties,” or to otherwise pay for

their transportation.

       156.    Nygard’s ComCor also uses social media to post about “pamper parties” and direct

messages to potential victims that meet Nygard’s specifications to invite to “pamper parties.” The

Nygard Companies’ Comcor recruits these victims for Nygard and are paid by the Nygard

Companies, with funds routinely routed through New York.

       157.    Nygard’s employees and “girlfriends” are also required to contact potential victims

in the database.




                                                52
       158.   Nygard instructs his corporate ComCor to lure and entice potential victims to

“pamper parties” by implying that potential modeling opportunities for the Nygard Companies are

available:




       159.   The sole purpose for contacting these young women and children, however, is to

ensure that Nygard has a sufficient pool of victims for the night.      Examples of ComCor

communications follow:



                                              53
         160.   Nygard also coerces his other employees and “girlfriends” to recruit young females

to attend the “pamper parties.” All of the Nygard Companies’ employees in the Bahamas are

required to “recruit” new victims for him. If they fail to provide an adequate pool of easily

exploitable victims, Nygard punishes them by forcing them to engage in sex acts with him, verbally

berating them,50 inflicting psychological abuse, docking pay, and/or forcing them to do manual

labor.

         161.   In stark contrast, those who provide Nygard with victims are paid extra by the

Nygard Companies, and they are able to avoid his wrath and sometimes avoid being his sexual

victim. Nygard’s employees and “girlfriends” “recruit” his victims to avoid these punishments

and to get into his good graces so they can avoid further victimization and receive rewards.


50
  See, e.g., https://www.youtube.com/watch?v=xCa9LEJsg2I (Nygard berating security guard,
Leo Thurston); https://www.forbes.com/forbes/2010/1206/features-peter-nygard-sexual-
harassment-answers-to-no-one.html#236f0e30bc9b

                                                54
       162.    Once Nygard’s potential victims enter the Nygard Cay property, the gates are

locked and patrolled by security at all times. No one is allowed to leave the Nygard Cay property

without express permission from Nygard.

       163.    Nygard has a preference for young girls and prefers underaged victims. After he

selects his victims for the night, Nygard, either himself or through his groomers, encourages the

children and young women to drink wine, “happy juice,” or other alcoholic beverages.

       164.    If the young girls or women are resistant, he sometimes has his bartenders lace the

victims’ drinks with drugs such as Rohypnol—colloquially referred to as the “date rape drug” or

“roofies.”

       165.    Nygard then lures the victims to his bedroom or has them ushered there by

groomers, under the false pretense of discussing a potential modeling contract in private, where he

uses physical force or coercion or knowing the victim has not attained the age of eighteen years,

to engage in commercial sex acts, and coerce and force them to engage in other unwanted sexual

acts, including the following: Coprophilia, which is sexual pleasure in feces and defecation;

Urolagnia, which is sexual pleasure from the sight or thought of urination; and Menophilia, which

is sexual pleasure in a women’s menstrual cycle and period blood.

       166.    Nygard’s personal security guard often stands outside the door to his bedroom, so

that nobody can enter and so that his victims cannot leave.

       167.    After each encounter, the victim cannot leave without Nygard’s personal

permission, further extending the victim’s horror and humiliation.

       168.    Nygard Companies’ employees will often arrange for transportation to drive

victims away from the property.




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       169.      Nygard rates his victims based upon their looks and their sexual performance and

enters those ratings in his victim database for future reference.

       170.      Nygard pays the victims almost exclusively in the Nygard Companies’ United

States currency, based upon his ratings of the victims and the type of sex acts they were subjected

to performing.

       171.      The amounts of money provided to the victims is more than most of his victims

have seen at one time in their entire lifetimes.

       172.      In addition to United States currency, Nygard promises that this money is just a

start to what he can provide for the victims. He promises many victims that he will contact them

about future modeling contracts.

       173.      However, in the vast majority of cases, Nygard never intends to follow through

with the modeling contracts and tells his victims this for the sole purpose of maintaining control

over them.

       174.      If he does provide any modeling opportunities, it is for the purpose of compelling

additional commercial sex acts.

       175.      Nygard also threatens the victims with implied or express threats of retribution if

they tell anyone about what happened, often implying or expressly threatening to have his victims

killed if they do not cooperate.

       176.      Nygard typically does not knowingly target the same victims more than once.

       177.      For those victims that Nygard does attempt to contact again, however, it is only to

engage in additional commercial sex acts. Nygard, through company employees paid by the

Nygard Companies, contacts those victims whom he gave “high ratings” and attempts to get them

to attend future pamper parties. He uses a combination of his wealth, influence, power, and the



                                                   56
victims’ socioeconomic vulnerabilities to turn the victims into his full-time sex workers. Nygard’s

full-time sex workers are forced to act as his personal servants, satisfy his demands for sex acts,

and “recruit” new victims for him to engage in commercial sex acts with.

       3.      Nygard Sex Traffics His “Girlfriends” and Forces Them to “Recruit” New
               Victims Using Company Resources for the Benefit of Nygard and the Nygard
               Companies.

       178.    Nygard refers to his full-time sex workers as his “girlfriends” and his entourage of

“girlfriends” that live with him at any given time as his “harem.”

       179.    Nygard’s “harem” consists of women from the United States, Canada, Bahamas,

and other countries. Some of his “girlfriends” are Bahamian victims who become his “girlfriends”

after first being raped at “pamper parties,” typically as children as young as fourteen years old.

       180.    Nygard typically keeps three to four full-time sex workers with him at all times.

They stay with him and are forced to accompany him on trips or “tours” around the world on the

Nygard Companies’ owned “N-Force” jet,51 including to California, New Orleans, New York,

Toronto, London, Germany, Italy, and China.

       181.    Nygard keeps tight and coercive control over his “girlfriends” through a variety of

direct and indirect manipulation tactics, including threats of force, physical intimidation and abuse,

verbal abuse, forced labor, withholding payment, and confiscating travel documents.

       182.    Although Nygard continues to force and coerce his “girlfriends” to engage in

commercial sex acts to satisfy his demands for sex, Nygard also uses his “harem” of “girlfriends”

to “recruit” or procure new victims for him to engage in commercial sex acts with each night.




51
  https://corporate.nygard.com/2005/07/15/ilta-sanomat-fashion-moguls-plane-will-house-a-
sauna-private-movie-theatre-a-disco/

                                                 57
       183.    Nygard refers to his newly recruited victims as “fresh meat” or “sacrifices.”

Nygard has an expressed desire for children and tells his “girlfriends,” who “recruit” for him, “the

younger the better.”

       184.    Nygard fully expects his “girlfriends” to “loosen up” his victims by giving them

alcohol laced with drugs, including mind-altering drugs.

       185.    If his “girlfriends” fail to provide Nygard with an easily exploitable victim each

night, Nygard punishes them by verbally berating them, inflicting psychological abuse,

withholding or cutting pay, forcing them to do manual labor, and forcing them to satisfy his

perverse sexual desires.

       186.    However, those who provide him with victims are paid extra for each victim and

are also able to avoid his wrath.

       187.    Nygard’s “girlfriends” “recruit” his victims to avoid these punishments and to get

into his good graces, so they can receive rewards including, without limitation, any payments that

Nygard may be withholding. Nygard’s “girlfriends” also do so because they know that if they are

able to “recruit” a new victim for Nygard, they will not be forced to satisfy his perverse sexual

fetishes. Nygard’s “girlfriends” have “recruited” victims to engage in commercial sex acts with

Nygard in, among other places, the Bahamas, Miami, Texas, New York, Los Angeles, Canada,

China, and Germany.

       188.    Travel arrangements for Nygard’s “girlfriends” are made through Nygard’s

corporate travel department. While on trips, Nygard’s “girlfriends” are particularly vulnerable

because they are in unfamiliar countries, entirely dependent upon Nygard for money, and he

confiscates their travel documents.




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       189.    Nygard threatens to desert those of his “girlfriends” that do not follow his orders in

foreign countries with no money or travel documents. Those who refuse his orders are left behind

broke and destitute.

       190.    Initially, Nygard’s “girlfriends” are led to believe that they are traveling with him

as models on glamorous fashion tours. Eventually, they learn that they are nothing more than full-

time sex workers to Nygard that are forced to cater to all of his personal needs, including his

demands for sex acts.

       191.    Nygard frequently takes his “girlfriends” to his New York City apartment, which

is located near Times Square and is leased by the Nygard Companies.

       192.    Nygard also regularly forces his “girlfriends” to accompany him to “swingers”

clubs in New York City. While at the “swingers” clubs, Nygard forces his “girlfriends” to find

couples for him to have sex with. He then pays and/or coerces his “girlfriends” to have sex with

other men, while he watches and engages in sex with the man’s partner.

       193.    While on official Nygard Companies’ “tours,” Nygard coerces his “girlfriends” to

engage in forced labor for the benefit of the companies. Nygard’s “girlfriends” are forced to be at

his beck and call and to cater to his every need 24 hours per day, 7 days per week. They must

awake every day at 5:30 a.m. to prepare his breakfast and ensure that it is ready for him to eat the

moment he awakens. They are also required to, among other things, give him his medications on

schedule, prepare his clothes, bathe him, clip his toenails, and prepare all of his meals.

       194.    The “girlfriends” are also required to prepare his bags with marketing and public

relations materials for his business meetings relating to the Nygard Companies, attend his business

meetings, otherwise act as his personal servants, and to model company clothing for company

executives—all of which directly benefit the Nygard Companies.



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       195.    The “girlfriends” are expected to constantly go out and buy the tools of Nygard’s

trade: condoms, lubricant, and the Plan B abortion pill.

       196.    Nygard’s “girlfriends” are always paid varying amounts of cash in United States

currency from the Nygard Companies, directly by Nygard, to buy their compliance and silence.

       197.    Nygard’s longtime “girlfriends” are also put on the official “girlfriend” or “model”

company payroll. They are paid monthly through direct deposit with funds from a Nygard

corporate account by the Nygard corporate accountant, Lili Micic. They are required to submit

invoices that state that they are being paid for “modeling and promotional services”—even though

they are full-time sex workers. These payments are made “per Mr. Nygard’s request.”




       198.    Every payment from the Nygard Companies has to be directly approved by Nygard

himself. The amount of payment is entirely conditioned upon their level of servitude to Nygard,




                                                60
their ability to satisfy his sexual desires, and their ability to recruit new victims for him to engage

in commercial sex acts with.

        199.    Nygard uses his financial resources, influence, power in the Bahamas, and

psychological manipulation to intimidate his victims and ensure that his crimes are not reported.

        200.    Those of his “girlfriends” who try to leave him are harassed and threatened by

Bahamian police that are on Nygard’s payroll.

        201.    Nygard has also paid people, using Nygard Companies’ cash, to intimidate his

former “girlfriends” by slashing their tires, committing arson, threatening to arrest them, and by

having them followed.

        4.      Nygard Intentionally Uses Fraud, Coercion, and Force to Cause and Bring
                About Commercial Sex Acts with His Victims Through the Nygard
                Companies’ Resources.

        202.    Nygard’s use of fraud, coercion, and force were “used to cause,” or designed to

bring about, the illegal sex acts.

        203.    Nygard intended and was aware that the fraud, coercion, and force would cause

commercial sex acts to take place with his victims.

        204.    Nygard’s goal, as evidenced by his uniform pattern and practice, was to recruit,

entice, and lure children, knowing that they had not attained eighteen years, or women, then

employ force and coercion to cause these victims to engage in sex acts for which he, through the

Nygard Companies, always provided something of value. The explicit or implicit quid pro quo

was always intended for Nygard to receive a sex act.

        205.    Nygard also intentionally used the Nygard Companies’ resources and brand to

entice and to cause sex acts, for which he always provided the Nygard Companies’ resources as

“value.” The Nygard Companies, therefore, financed his commercial sex acts.



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          206.   And the Nygard Companies also benefited from “pamper parties” and other

corporate events,52 which Nygard used to gain access to his victims, by promoting its brand and

its products in the Bahamas and around the world.

          207.   The Nygard Companies have actual knowledge that Nygard engaged in commercial

sex acts with children and with young women by means of force, fraud, and/or coercion through

Nygard—the founder, current chairman, and 100% owner of the companies.

D.        Consistent with His Uniform Pattern and Practice, Jane Does Nos. 1-10 Were Forced
          to Engage in Commercial Sex Acts with Nygard by Means of Force, Fraud, and
          Coercion and/or Had Not Attained the Age of Eighteen Years.

          1.     Jane Doe No. 1

          208.   Jane Doe No. 1 is a Bahamian citizen born in Nassau, New Providence, the

Bahamas, on March 28, 2001.

          209.   On July 4, 2015, Jane Doe No. 1 was walking through the Mall at Marathon,

Nassau, the Bahamas (the “mall”) with two friends. She had just turned fourteen years old.

          210.   The Nygard Store recently opened at the mall, and models were walking around the

mall asking people to come into the store to try on clothing.

          211.   When she approached the store, a model was standing in the entrance and asked her

to come inside. The model handed her a pair of pants and told her to try them on. Jane Doe No.

1 went to the changing room, but the changing room had no curtains or doors on them. As she

began to change, three of the workers started taking pictures. She asked if there was anywhere

else to change, and the models responded that the rooms were still being renovated, so there was

nowhere else to go.




52
     See https://ewnews.com/711-rapes-presented-to-hospitals-since-july-2013;

                                                 62
       212.    Jane Doe No. 1 could not fit in to the pants because they were too big. She asked

if they had any smaller sizes, and she was told that she was trying on the smallest size available.

A few minutes later, Nygard walked in and asked to take her measurements. He rubbed her inner

thighs and buttocks as he personally took her measurements.

       213.    Nygard asked Jane Doe No. 1 what grade she was in, and Jane Doe No. 1 responded

that she was in grade 9.

       214.    Nygard asked her if she modeled and told Jane Doe No. 1 that she had the body for

it.

       215.    Nygard told her that his name was Peter Nygard and asked her if she wanted to

work for him. Nygard instructed her to give one of the models her phone number, and Jane Doe

No. 1 gave it to him because she wanted to be a model.

       216.    Approximately three days later, Jane Doe No. 1 received a call from one of

Nygard’s ComCor workers—paid by the Nygard Companies.

       217.    The worker indicated that she was contacting her about the “modeling situation”

with Nygard. She was instructed to be ready at 6:00 p.m., wear a dress and heels, and do her make-

up.

       218.    Jane Doe No. 1 was picked-up in a white SUV at her house by another Nygard

employee. When she got in the car, there were already two girls in the back seat.

       219.    When they arrived at Nygard Cay, the three girls were registered at the security

office and subsequently escorted to a dining area near the beach.

       220.    They ate with other guests, while they waited for Nygard to join them.

       221.    Nygard eventually joined them and began playing poker.

       222.    Jane Doe No. 1 stood to the side and watched them play.



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       223.    About ten minutes later, Nygard approached Jane Doe No. 1 and asked her if they

could go somewhere quieter to “discuss business.” Jane Doe No. 1 agreed—believing that they

were going to discuss a modeling opportunity—and Nygard escorted her upstairs.

       224.    Jane Doe No. 1 was expecting to be taken to an office and was surprised when they

entered a bedroom.

       225.    Jane Doe No. 1 became nervous, and Nygard assured her that he doesn’t bite and

told her to sit down and get comfortable.

       226.    Nygard then turned on the television, which immediately began showing

pornography. The pornography depicted a man rubbing feces over a woman’s body. Nygard

asked Jane Doe No. 1 if she was familiar with what the pornography was showing, and she

responded that she was not.

       227.    Nygard then went into a closet that was next to the bed and pulled out a dildo and

K-Y Jelly. Nygard asked her to “try something new.”

       228.    Jane Doe No. 1 responded that she could not do that and that she only came to

discuss modeling. Nygard responded that he would discuss modeling afterwards. He instructed

Jane Doe No. 1 to pick up the dildo, apply the K-Y Jelly, and to insert it into his anus.

       229.    Jane Doe No. 1 did not say anything because she was afraid. Nygard got onto the

bed and knelt down on his knees, turning and pointing his anus toward Jane Doe No. 1. Nygard

repeated his instruction, but with more force.

       230.    Jane Doe No. 1 did as she was instructed because she was afraid. Jane Doe No. 1

continued to penetrate Nygard’s anus with the dildo for about ten minutes, during which time

Nygard began to masturbate.




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       231.       Nygard then told Jane Doe No. 1 that it was her turn to “have some fun.” Nygard

approached her and Jane Doe No. 1 asked him to stop.

       232.       Nygard told her not to worry, reached around her neck, and began unzipping her

dress. Nygard then put on a condom and began kissing Jane Doe No. 1’s neck and began licking

her down to her breasts.

       233.       Nygard then began to open Jane Doe No. 1’s legs as she tried to close them and

push him off her. As Jane Doe No. 1 tried to push Nygard off, he held her hands back and pinned

them against the headboard.

       234.       Jane Doe No. 1 began to cry as Nygard forced his penis into Jane Doe No. 1’s

vagina. Jane Doe No. 1 was a virgin.

       235.       After raping Jane Doe No. 1, Nygard instructed her to go into the bathroom and put

her clothes on.

       236.       Jane Doe No. 1 entered the bathroom, looked in the mirror, and noticed that her

make-up was messy from crying. She cleaned her face and went back into the bedroom, at which

point Nygard told her it was time to go.

       237.       As they were walking down the stairs, Nygard handed Jane Doe No. 1 an envelope

and said, “this is for you.” Jane Doe No. 1 did not open the envelope or ask what was inside.

       238.       As Jane Doe No. 1 walked downstairs, she saw another young girl walking up

towards Nygard’s bedroom. When they reached the last set of stairs, Nygard left Jane Doe No. 1

and headed back up to the bedroom.

       239.       Jane Doe No. 1 went back to the dining area where she found the two employees

who brought her there. She was escorted back to the white SUV and was transported back to her

home by a Nygard Companies employee.



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       240.      When Jane Doe No. 1 got back home, she experienced extraordinary pain in her

vagina. She took a shower and went to bed.

       241.      She never told anyone what happened to her because she was afraid and

embarrassed. She never returned to Nygard Cay.

       2.        Jane Doe No. 2

       242.      Jane Doe No. 2 is a Bahamian citizen, born in Nassau, New Providence, the

Bahamas, on March 14, 1997.

       243.      In 2011, at the age of fourteen, Jane Doe No. 2 entered the Miss Teen Bahamas

Galaxy beauty pageant competition.

       244.      Her family was impoverished, and they sought sponsorship to help cover her

pageant costs.

       245.      Because she was only fourteen, Jane Doe No. 2 was assisted by her mother, who

tried helping her find sponsorship from individuals and businesses. An ex-colleague of Jane Doe

No. 2’s mother suggested that she contact Nygard, as he might be interested in sponsoring Jane

Doe No. 2.

       246.      Jane Doe No. 2’s mother put together a portfolio with Jane Doe No. 2’s photographs

and biography and submitted it to the office at Nygard Cay.

       247.      Jane Doe No. 2’s portfolio was reviewed and returned by a Nygard employee, who

informed her that Nygard was not granting sponsorships at that time.

       248.      Jane Doe No. 2’s mother continued to make follow-up calls to Nygard Cay, in an

attempt to get her daughter a sponsorship.

       249.      Eventually, she developed a relationship over the phone with Nygard’s daughter,

Bianca Nygard.



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          250.   In June 2011, Jane Doe No. 2 and her mother were invited to attend a “pamper

party” at Nygard Cay.

          251.   Upon arriving at Nygard Cay, Jane Doe No. 2 was registered at the ComCor office

where Nygard employees took down her contact information and photographed her.

          252.   Jane Doe No. 2’s mother had a conversation with Bianca Nygard about a potential

sponsorship. Bianca Nygard instructed her to re-submit Jane Doe No. 2’s portfolio.

          253.   Jane Doe No. 2 and her mother spent time at the party. Jane Doe No. 2 saw Nygard

at the party but did not have any direct contact with him.

          254.   Jane Doe No. 2 and her mother went home and did not have any further contact

with Nygard or his employees until August 2011, when they were invited to another “pamper

party.”

          255.   Jane Doe No. 2 attended the “pamper party” again with her mother. When they

entered Nygard Cay, a security guard explained to Jane Doe No. 2’s mother that she did not need

to attend the “pamper party” with Jane Doe No. 2 as she was “like family now.” Her mother stayed

anyway.

          256.   Jane Doe No. 2 and her mother each got pedicures at the “pamper party.” They did

not see anything unusual, and returned home later that evening.

          257.   Approximately two weeks later, Jane Doe No. 2 received a WhatsApp text message

from a Nygard Companies’ ComCor worker inviting her to another “pamper party.”

          258.   She was instructed to bring some female friends too.

          259.   Jane Doe No. 2 did not tell her mother (because she knew her mother would

disapprove) about the “pamper party” this time and she did not invite any friends to attend the

pamper party with her.



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       260.    Following more communications with Nygard Companies’ ComCor employees,

Jane Doe No. 2 was transported to the “pamper party” by a Nygard Companies’ employee.

       261.    When she arrived, there were a number of young girls her age, including another

pageant contestant who she knew.

       262.    Jane Doe No. 2 received a manicure and walked into the foyer, where she saw

Nygard sitting at a table surrounded by beautiful models. She did not approach Nygard, but noticed

him looking at her. As Jane Doe No. 2 talked to another girl, the Nygard Companies’ driver

approached her and suggested that she go talk to “the boss.”

       263.    Jane Doe No. 2 responded that she did not feel comfortable going over to talk to

Nygard. The driver told her that if she went over to talk with him, Nygard would give her a

sponsorship.

       264.    The driver then offered to escort Jane Doe No. 2 over to Nygard and she agreed.

The driver introduced her to Nygard as Miss Teen Bahamas.

       265.    Nygard stood up, shook Jane Doe No. 2’s hand, and told her that she was beautiful

and that she had “luscious lips.”

       266.    Nygard asked Jane Doe No. 2 what she was drinking, and she responded that she

was drinking cranberry juice. Nygard asked her if she drank alcohol, and she responded that she

was a teenager and was not allowed to drink.

       267.    Nygard told her that she was at a private event and could do whatever she wanted.

       268.    Nygard instructed the girl sitting to his right to move and offered the seat to Jane

Doe No. 2. Nygard then instructed the bartender to bring her a glass of red wine.




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        269.   Nygard asked Jane Doe No. 2 about herself. Jane Doe No. 2 explained that she

already sent him her portfolio and he rejected it. Nygard responded that had he known how

beautiful she was, he would have sponsored her.

        270.   Before Jane Doe No. 2 finished her first glass of wine, Nygard instructed the

bartender to bring her a second glass. Jane Doe No. 2 continued to drink wine as they talked at

the table.

        271.   Nygard asked Jane Doe No. 2 if she wanted to be a model. He also told her that if

she stuck with him, she could travel all over the world with him. He pointed to several other

women in the room who were his models and traveled with him to fashion shows in New York

and London.

        272.   Jane Doe No. 2 had two more glasses of red wine, which Nygard instructed the

bartender to bring her.

        273.   Eventually, Nygard called the bartender over and whispered in his ear. The

bartender returned with a bag of pills. There were white, blue, and pink pills all in a small blue

zip-locked bag.

        274.   Nygard showed the bag to Jane Doe No. 2 and told her that the pills would help her

become a model, because all models did them. He told her that the pills would make her feel good

and help her do well.

        275.   Nygard handed her the three pills and instructed her to take them all at once. Jane

Doe No. 2 took the pills with wine, as Nygard instructed.

        276.   Approximately fifteen minutes after taking the pills, Jane Doe No. 2 got up to use

the restroom. While in the restroom, she began to feel dizzy, and the room began to spin.

        277.   She returned to the table where another glass of wine was waiting for her.



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         278.   Nygard then escorted her away from the foyer area, holding her hand, and led her

to his bedroom. Once they arrived in his bedroom, Nygard laid her down on the bed and told her

to relax.

         279.   He walked away for approximately five minutes and returned with a dildo in his

hands.

         280.   He removed Jane Doe No. 2’s pants and underwear and attempted to force the dildo

into her vagina.

         281.   Jane Doe No. 2 resisted and told Nygard to stop because it hurt, but Nygard did not

stop.

         282.   Nygard instructed her to “relax” and stated that “it has to be done sooner or later.”

         283.   At that point Jane Doe No. 2 blacked out and does not know what Nygard did to

her while she was unconscious.

         284.   The next morning, Jane Doe No. 2 awoke and saw Nygard still sleeping next to her

in the bed. She immediately got out of the bed and noticed blood on the sheets.

         285.   She went to the bathroom and immediately cleaned herself up. There was blood

around her vagina. She cleaned herself up as quickly as possible.

         286.   When she came out of the bathroom, she noticed her pants and underwear on the

floor. Nygard was awake and told her that her life was “going to be different” now.

         287.   He then reached over to a dresser next to the bed and handed her approximately

$5,000, in $100 bills, in U.S. currency.

         288.   Nygard instructed her not to tell anyone what happened and told her that he would

look out for her.




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           289.   Jane Doe No. 2 initially refused to take the money, but Nygard insisted that she

take it.

           290.   Nygard asked her if she wanted him to have one of his drivers take her home, but

she declined.

           291.   Jane Doe No. 2 called her aunt to pick her up at a nearby mall.

           292.   At that point, Nygard’s personal assistant, Pam (another Nygard Companies’

employee), came up to the room to escort Jane Doe No. 2 downstairs.

           293.   Jane Doe No. 2 was escorted to a black bus that had a picture of Nygard’s face on

it. She was the only person on the bus, and the driver took her to the Charlottesville shopping

center, near Old Fort Bay.

           294.   Jane Doe No. 2’s aunt then picked her up from there and drove her home.

           295.   Jane Doe No. 2 was a virgin prior to being raped by Nygard.

           296.   In November 2011, Jane Doe No. 2 was invited to another “pamper party” via text

message by a Nygard ComCor employee.

           297.   She decided to go to the “pamper party,” because she believed that Nygard would

make her a model—like he had promised he would do.

           298.   When she arrived at the “pamper party,” Nygard approached her and asked her how

she was doing. He began instructing the bartender to bring her wine again. He again offered her

pills, but Jane Doe No. 2 declined.

           299.   Nygard again led Jane Doe No. 2 to his bedroom.

           300.   When they arrived, Nygard instructed Jane Doe No. 2 to play with his genitals, gave

her lubricant and a dildo, and told her to penetrate his anus.




                                                  71
       301.    Afraid, and hoping for the modeling opportunity that Nygard had promised her,

Jane Doe No. 2 did as she was instructed.

       302.    Later, Jane Doe No. 2 received text messages from a Nygard Companies’ ComCor

employee inviting her to travel with Nygard to Ohio, Canada, and New York.

       303.    After the November 2011 “pamper party,” Jane Doe No. 2 began receiving regular

invitations to attend “pamper parties” at Nygard Cay.

       304.    Jane Doe No. 2 became a regular guest, on the hope that she would become an

international model for the Nygard brand.

       305.    It did not happen for several years.

       306.    In 2015, Nygard launched his Nygard Slims brand, and Jane Doe No. 2 modeled

the pants at the grand opening of the Nygard store at the Marathon Mall.

       307.    She was given a check for over $3,000 from the Nygard Companies. After

grooming and abusing Jane Doe No. 2, Nygard converted her into a recruiter to secure other young

girls for him to abuse.

       308.    Jane Doe No. 2, a young victim, did so, in order to avoid having to satisfy Nygard’s

perverse sexual desires herself.

       309.    Nygard would instruct Jane Doe No. 2 to offer the young girls drugs.

       310.    If the girls did not want to sleep with Nygard, Jane Doe No. 2 would sometimes put

the drugs in their drinks or food without their knowledge.

       311.    Jane Doe No. 2 has first-hand knowledge of other girls who Nygard had delivered

to him for his sex trafficking ring.




                                                72
       312.    Each time Jane Doe No. 2 visited Nygard Cay and recruited girls for him, Nygard

would give her large sums of cash—never less than $2,000 and always in U.S. currency (from the

Nygard Companies).

       313.    On February 7, 2017, Jane Doe No. 2 went to Nygard Cay to attend another

“pamper party.”

       314.    They played poker until very late, and Nygard invited her to his room.

       315.    Nygard then insisted that Jane Doe No. 2 defecate and/or urinate in his mouth.

       316.    Jane Doe No. 2 responded that she did not wish to do that to him. He offered to

give Jane Doe No. 2 drugs that would help her to defecate.

       317.    Jane Doe No. 2 told Nygard no and decided she could no longer take Nygard’s

perverse sexual fetishes.

       3.      Jane Doe No. 3

       318.    Jane Doe No. 3 is a Bahamian citizen, born in Nassau, New Providence, the

Bahamas, on July 25, 1995.

       319.    In June 2011, she was fifteen years old, when she met one of Nygard Cay’s ComCor

employees.

       320.    The employee frequented Jane Doe No. 3’s neighborhood.              The employee

introduced herself to Jane Doe No. 3 and a few other girls.

       321.    She stated that she had a job for them to do, but did not specify what the job was.

       322.    She told Jane Doe No. 3 to be ready the next day and that someone would pick her

up.

       323.    The next day, at approximately 1:00 p.m., a white SUV arrived at Jane Doe No. 3’s

house and transported her to Nygard Cay.



                                                73
       324.    When she arrived, she saw the employee, who told her that the job was not ready

yet and to go to the salon and spa until she returned.

       325.    Jane Doe No. 3 was taken to the spa and given a professional massage. It was her

first time having a massage.

       326.    After the massage, Jane Doe No. 3 had lunch with some of the other guests.

       327.    The employee arrived and told her that she wanted her to meet someone. Jane Doe

No. 3 followed the employee upstairs to Nygard’s bedroom, where she was introduced to Nygard,

who was sitting at a small round table.

       328.    Nygard began a conversation with Jane Doe No. 3, at which point the employee left

the room.

       329.    Nygard offered her some wine, and she accepted.

       330.    After another glass of wine, Nygard asked Jane Doe No. 3 if she had ever had sex

before, and she responded that she had not.

       331.    At this point, she became afraid.

       332.    Nygard took her over to the bed and began to rub her legs and face.

       333.    He sat down next to her and slowly pushed her body back onto the bed. Nygard

took a condom from the drawer and put it on.

       334.    He began kissing her on her stomach and she began trembling in fear.

       335.    She shouted “no” and began to cry. Nygard grabbed her closer, put all of his weight

on her, and penetrated her vagina with his penis.

       336.    She told him to stop and resisted him, but he overpowered her.

       337.    After Nygard raped her, Jane Doe No. 3 was bleeding from her vagina, and there

was blood on the sheets.



                                                   74
        338.    Jane Doe No. 3 told Nygard that she wanted to go.

        339.    He pointed her toward the bathroom and told her to clean off.

        340.    She took a shower, and when she finished, Nygard was no longer in the room.

        341.    She got dressed and waited for someone to return.

        342.    Eventually, the employee returned and asked her if she was okay. She responded

that she was afraid. The employee led her back downstairs, and Jane Doe No. 3 sat by herself until

the driver returned to take her home.

        343.    Before Jane Doe No. 3 left, the employee handed her approximately $200 in U.S.

currency.

        344.    The following week, some of Jane Doe No. 3’s friends showed her a text message

from the employee, instructing them to be ready to go to Nygard Cay that Sunday.

        345.    The next day, Jane Doe No. 3 told her fourteen year-old cousin, Jane Doe No. 4,

about the employee and the “pamper party” at Nygard Cay. She did not, however, tell Jane Doe

No. 4 what had happened to her there.

        346.    Jane Doe No, 3 and Jane Doe No. 4 went to Nygard Cay.

        347.    When they arrived, they were registered at the security station near the front gate.

        348.    Inside, Jane Doe No. 3 was not feeling well, so she sat by herself, while the other

girls went to eat.

        349.    Jane Doe No. 3 went to the bathroom, and, when she returned, she did not see Jane

Doe No. 4.

        350.    She asked one of the other girls at the pamper party where she went, and they told

her that she went with the employee.




                                                 75
        351.    Later, someone told Jane Doe No. 3 that her mother was outside the gate at Nygard

Cay, threatening to call the police if they did not let her in to get the girls.

        352.    She did not want to leave without Jane Doe No. 4, and she was very scared.

        353.    She found Jane Doe No. 4 a short time later.

        354.    Jane Doe No. 4 stated that she needed to go get her bag, which she left at the pool

area. She returned a short time later, and they ran toward the gate, where they saw Jane Doe No.

3’s mother shouting.

        355.    They immediately got in the car, and she drove them home.

        356.    Neither Jane Doe No. 3 nor Jane Doe No. 4 told Jane Doe No, 3’s mother what had

happened to them at Nygard Cay. Instead, they told her that the employee had offered them jobs

cleaning the bathrooms.

        357.    She instructed the girls never to go back again.

        4.      Jane Doe No. 4

        358.    Jane Doe No. 4 is a Bahamian citizen, born in Nassau, New Providence, the

Bahamas, on February 12, 1997.

        359.    In June 2011, she was fourteen years old when her cousin, Jane Doe No. 3, told her

about a “pamper party” that she attended at Nygard Cay.

        360.    Jane Doe No. 4 decided to go.

        361.    At the party, Jane Doe No. 4 went to the pool house and changed into her bathing

suit. She went to a beach chair and sat there with her bag next to her.

        362.    After about 30 minutes, she went and got a manicure and pedicure. She returned

to her beach chair and received a drink with alcohol in it.




                                                   76
       363.    Shortly thereafter, Nygard approached her and asked her if she had ever thought

about modeling.

       364.    He told her that he thought that she would be a good candidate, based upon her

body structure. He then told her that he had connections, if she wanted to try it.

       365.    Nygard asked her if she wanted to go somewhere quieter to talk and motioned for

her to follow him.

       366.    He led her up the stairs, at which point Jane Doe No. 4 began to hesitate. He told

her not to be scared. She followed him up the stairs and into his bedroom.

       367.    Once they arrived in the bedroom, Nygard invited her to get comfortable on the

bed.

       368.    Nygard turned on the television, which was playing pornography showing a woman

having oral sex with a man.

       369.    After some time, Nygard sat down on the bed next to her and began stroking her

hair and rubbing her back. Jane Doe No. 4 was scared and uncomfortable.

       370.    She asked him if this was his way of talking about modeling, and he replied that he

wanted to have sex with her.

       371.    Nygard began removing his clothes and moved toward her. Nygard pulled the

strings on her bathing suit, removing it, and began licking her neck, moving downward until he

began performing oral sex on her.

       372.    Jane Doe No. 4 attempted to close her legs, but Nygard pushed them open. She

continued to try to close her legs, but he overpowered her.

       373.    Nygard then moved upward and began to penetrate her vagina with his penis.




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       374.    After some time, he then instructed her to perform oral sex on him until he

ejaculated.

       375.    Prior to this encounter she was a virgin.

       376.    Jane Doe No. 4 then went into the bathroom and took a shower. She put her clothes

on, and when she came out, Nygard gave her a white envelope and told her “this is for you.”

       377.    Nygard then told her to give him his contact information and that he would contact

her about modeling. The envelope contained approximately $5,600 in U.S. currency.

       378.    Jane Doe No. 4 left the room, and as she was heading downstairs, she saw her

cousin, Jane Doe No. 3, looking for her and saying that her mother was outside waiting for them.

       379.    Jane Doe No. 4 returned to the pool area to get her bag, and they left together with

Jane Doe No. 3’s mother.

       380.    She never returned to Nygard Cay.

       5.      Jane Doe No. 5

       381.    Jane Doe No. 5 is a Bahamian citizen, born in Nassau, New Providence, the

Bahamas, on August 7, 1992.

       382.    In July 2009, when she was seventeen years old, she was invited to a “pamper

party” by her friend.

       383.    While at the party, Jane Doe No. 5 consumed multiple alcoholic beverages.

       384.    While they were drinking on the beach, Nygard approached the friend and gestured

at her to follow him.

       385.    The friend motioned to Jane Doe No. 5 to come with her because she did not want

to go with Nygard alone.

       386.    Nygard took them up to his bedroom and gave them more to drink.



                                                78
         387.   After drinking the drinks, Jane Doe No. 5 began to feel different.

         388.   Nygard instructed the girls to touch one another sexually, and they complied.

         389.   After several minutes, Nygard joined and began touching the girls.

         390.   Nygard then sodomized Jane Doe No. 5 against her will.

         391.   Afterwards, she was bleeding from her anus.

         392.   Nygard then asked the girls to defecate on him, but neither of them could or would

do so.

         393.   Nygard gave Jane Doe No. 5 $200 in U.S. currency and led the girls downstairs.

         394.   He gave permission for them to leave, and they drove home.

         395.   Jane Doe No. 5 never returned to Nygard Cay.

         6.     Jane Doe No. 6

         396.   Jane Doe No. 6 is a Bahamian citizen, born in Nassau, New Providence, the

Bahamas, on August 28, 1992.

         397.   In August 2008, when she was fifteen years old, she was invited to a “pamper party”

by the Nygard Cay DJ, named “Shorts.”53

         398.   Upon arriving, she was processed and registered in the ComCor database and her

photograph was taken.

         399.   While at the party, Jane Doe No. 6 had multiple alcoholic beverages.

         400.   Jane Doe No. 6 also saw several other children that she knew at the party.

         401.   Jane Doe No. 6 was introduced to Nygard. Within minutes of the introduction,

Nygard spun her around and told her “Nice ass.”



53
  See https://www.youtube.com/watch?v=SVQADmCs77s (detailing unveiling of Nygard Cay
“beach disco.”).

                                                 79
       402.     Later in the evening, Nygard invited Jane Doe No. 6 to accompany him to get some

marijuana to smoke.

       403.     Jane Doe No. 6 was not afraid because Nygard had a high profile in the Bahamas,

and she held him in high regard.

       404.     Nygard took her up to his bedroom. He then undressed and went into the Jacuzzi.

       405.     Jane Doe No. 6 began to feel lightheaded from the alcoholic drinks that she had

consumed.

       406.     Nygard got out of the Jacuzzi and told Jane Doe No. 6 to get comfortable.

       407.     Nygard opened a drawer filled with pills and told Jane Doe No. 6 to take some, but

she declined.

       408.     Nygard then untied her bathing suit and began undressing her.

       409.     He told her that he wanted her to defecate on his face, and she told him no.

       410.     Nygard began fondling Jane Doe No. 6 and pushed his finger into her anus.

       411.     Jane Doe No. 6 tried to fight Nygard off, but he became more aggressive the more

that she fought.

       412.     He then attempted to have anal sex with Jane Doe No. 6 but was unable to penetrate

her anus.

       413.     He then penetrated her vagina and proceeded to rape her.

       414.     Jane Doe No. 6 told Nygard to stop many times and continued to fight, but he

overpowered her.

       415.     After Nygard was done, Jane Doe No. 6 got dressed immediately and tried to leave

the room. Before she could leave Nygard told her to take a handful of cash in U.S. currency.

       416.     Jane Doe No. 6 refused the cash and left the room.



                                                 80
       417.    She found her friends and left Nygard Cay. She never returned.

       7.         Jane Doe No. 7

       418.    Jane Doe No. 7 is a Bahamian citizen, born on April 13, 1992.

       419.    In 2010, when she was 18 years old, Jane Doe No. 7 was invited to a “pamper party”

at Nygard Cay by a friend.

       420.    Upon arrival, she was processed and registered in the ComCor database and her

photograph was taken.

       421.    Jane Doe No. 7 consumed several alcoholic beverages while at the party.

       422.    Nygard approached her and introduced himself to her. He then led her upstairs to

the bedroom.

       423.    Nygard invited Jane Doe No. 7 into the Jacuzzi, and she got in.

       424.    Nygard made sexual advances toward her in the Jacuzzi, and she resisted.

       425.    Nygard then made a drink for Jane Doe No. 7, which she drank completely.

       426.    Within several minutes, Jane Doe No. 7 began feeling nauseous and sleepy.

       427.    Nygard asked her to urinate in his mouth.

       428.    Jane Doe No. 7 then bent over the bed because she could no longer stand. Nygard

was beside her.

       429.    Jane Doe No. 7 does not recall what happened next because she kept slipping in

and out of consciousness.

       430.    She awoke with pain in her anus and blood in her underwear.

       431.    Nygard paid Jane Doe No. 7 in U.S. currency and sent her away.

       432.    She left Nygard Cay and never returned.




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        8.     Jane Doe No. 8

        433.   Jane Doe No. 8 is a Bahamian citizen, born on September 12, 1984. In 2008, Jane

Doe No. 8 was an employee of Nygard Cay.

        434.   Jane Doe No. 8 was often tasked with driving to pick up girls who didn’t have a

ride to a pamper party, hosting pamper parties, recruiting women for pamper parties, and

performing household duties at Nygard Cay.

        435.   Jane Doe No. 8 was aware of Nygard’s sexual appetites, since she often was the

one picking up victims and driving them to and from Nygard Cay.

        436.   She herself had turned down Nygard’s sexual advances many times during the

course of her employment at Nygard Cay.

        437.   On one particular occasion in 2014, after substantial stress at the job, one of

Nygard’s “girlfriends” offered her a glass of wine. The girlfriend was insistent, and, although Jane

Doe No. 8 rarely drinks while at work, she accepted a glass of wine and gulped it down quickly.

Then she went to Nygard’s room to complete her job duties.

        438.   Shortly after arriving, she noticed her arms become numb and then she fell

unconscious on Nygard’s bed.

        439.   When she became alert again, Nygard was on top of her on his bed and was in the

act of penetrating her vaginally with his penis. She was powerless to stop him.

        440.   While slipping in and out of consciousness, Jane Doe No. 8 saw three specific

girlfriends walk in and witness what was happening, including the girlfriend who provided her the

wine.

        441.   When Jane Doe No. 8 finally became fully awake, she left the household, went out

to her car, and began crying.



                                                82
        442.    After this occurred, she continued to work at Nygard Cay out of financial necessity.

        443.    Following Nygard’s rape of her, Jane Doe No. 8 actively attempted to avoid contact

with Nygard and performed all the household duties she could that did not require direct contact

with him.

        444.    Nygard finally confronted her about the rape and told her “not to take it personally.”

        445.    Eventually, Nygard told Jane Doe No. 8 that she must either continue to have sex

with him regularly, or that she would no longer be employed. When she refused, she was

terminated.

        446.    On April 6, 2017, Jane Doe No. 8 was taking the trash out at her home in the

Bahamas, when she was accosted by two of Nygard’s employees. The two employees stated that

Nygard wanted to speak to her and that she needed to travel to see him. She stated that she did not

wish to see Nygard. The employees ignored her refusal and used physical force to take her inside,

confiscate her passport, and put her into a car. She had no clothes or travel items with her.

        447.    Jane Doe No. 8 was driven by the two employees to the airport and given a plane

ticket to fly to Toronto.

        448.    When she arrived in Toronto, Jane Doe No. 8 was only wearing shorts and a t-shirt

and was freezing. She was forced into a hotel room and restrained or guarded to prevent escape.

        449.    During this time, her cell phone was confiscated and she was not allowed to let her

family or friends know where she was.

        450.    Nygard, however, did not appear in Toronto and the employees who abducted her

provided plane tickets and, at Nygard’s instruction, took her to Fort Lauderdale.

        451.    In Fort Lauderdale, Jane Doe No. 8 was restrained and guarded in another hotel

room under the guise of speaking to Nygard.



                                                 83
       452.      Nygard again did not appear in Fort Lauderdale and Jane Doe No. 8 was flown back

to Nassau on April 10, 2017.

       9.        Jane Doe No. 9

       453.      Jane Doe No. 9 was an employee of Nygard and the Nygard Companies.

       454.      During her time as an employee of Nygard and the Nygard Companies, Jane Doe

No. 9 was sexually assaulted by Nygard on numerous occasions. On each occasion, she would

resist and tell him no, but he would force himself on her.

       455.      Nygard used Jane Doe No. 9’s continued employment with the Nygard Companies

as value and as a means to coerce and force her into commercial sex acts.

       456.      In 2015, Jane Doe No. 9 was sexually assaulted by Nygard at his residence in

Marina Del Ray, California.

       457.      She was asleep in a guest room that had a key code lock on the door. Nygard

overrode the key code and entered the room without her permission while she was sleeping.

       458.      She awoke to Nygard forcefully and physically overpowering her as she attempted

to stop him from raping her.

       459.      She verbally demanded he stop, but he refused and proceeded to forcefully

penetrate her.

       460.      After the assault, Jane Doe No. 9 sought medical treatment.

       461.      Jane Doe No. 9 eventually left her employment with Nygard and the Nygard

Companies due to the continuous sexual abuse that she endured.

       462.      She did not report Nygard’s sexual abuse because she is extremely scared of him

and what he might do to her and her career aspirations.




                                                 84
       10.     Jane Doe No. 10

       463.    Jane Doe No. 10 is a Bahamian citizen, born on August 19, 1988. When she was

fifteen years old, Jane Doe No. 10 was vaginally and anally raped by Nygard while attending a

“pamper party” at Nygard Cay.

       464.    Jane Doe No. 10 had heard of “pamper parties” before from her friends and thought

that they sounded fun.

       465.    When she was fifteen years old, her sister invited her to come to a “pamper party”

at Nygard Cay.

       466.    After eating sushi and grilled meats, Jane Doe No. 10 noticed that she was not

feeling well and was nauseous.

       467.    She was approached by Nygard and his security guard shortly thereafter.

       468.    Nygard held Jane Doe No. 10’s hand and told her to follow him.

       469.    Jane Doe No. 10 asked why, but Nygard refused to answer and dragged her along

with him.

       470.    Nygard’s security guard walked with them as they arrived at what Jane Doe No. 10

soon realized was Nygard’s bedroom. She became afraid.

       471.    After she and Nygard entered the bedroom, Nygard’s security guard stood outside

his door.

       472.    Once they were alone in the room, Nygard commented on Jane Doe No. 10’s body,

told her that she could be a model for him, and cupped her butt with his hands.

       473.    Nygard then told her to take off her clothes.

       474.    Jane Doe No. 10 told Nygard that she was not comfortable doing that, as she was

only fifteen years old.



                                                85
       475.     Jane Doe No. 10 was still not feeling well and was feeling dizzy and light-headed.

       476.     Jane Doe No. 10 told Nygard that she was not feeling well and that she was ready

to go home.

       477.     Nygard opened a drawer and took out a small white pill. He told Jane Doe No. 10

to take the pill, lay down, and it would make her feel better.

       478.     Jane Doe No. 10 took the pill, thinking that it would make her feel better.

       479.     Nygard then asked Jane Doe No. 10 if she had ever had anal sex before. She told

him that she had never heard of that before.

       480.     Nygard told Jane Doe No. 10 that she was going to like it and offered her $5,000.

       481.     Nygard then forced Jane Doe No. 10 onto the bed and climbed on top of her, kissing

her neck and breast.

       482.     Jane Doe No. 10 told him that he was making her feel uncomfortable.

       483.     Jane Doe No. 10 tried to fight Nygard off of her, but he physically overpowered

her. The harder she fought, the angrier he got.

       484.     Jane Doe No. 10 became overwhelmed.

       485.     Nygard then forced his penis into her vagina. It was very painful and Jane Doe No.

10 began to cry.

       486.     Jane Doe No. 10 told Nygard that he was hurting her and that she was still not

feeling well.

       487.     Nygard told Jane Doe No. 10 to lay down on her stomach and she would feel better.

       488.     Jane Doe No. 10 laid down on her stomach and Nygard immediately laid on her

back and started kissing her neck.




                                                  86
        489.     Nygard then offered Jane Doe No. 10 $10,000 to defecate in his mouth. Jane Doe

No. 10 responded that she could not do that and that she was in a lot of pain.

        490.     Nygard then forced his penis into Jane Doe No. 10’s anus.

        491.     When he was done Jane Doe No. 10 immediately left the room and went downstairs

to her sister.

        492.     Jane Doe No. 10’s sister could tell that she was visibly upset, but she did not tell

her what had happened.

        493.     They went home and Jane Doe No. 10 did not tell anyone what had happened

because she was scared and embarrassed.

        494.     Jane Doe No. 10 woke up the following day and she was bleeding from her anus.

She was too afraid to tell her mother, so she asked her sister to accompany her to the doctor.

        495.     Jane Doe No. 10 had to receive two stitches in her anus to stop the bleeding.

E.      The Statute of Limitations Should Be Tolled for All Victims, Because Nygard Uses
        Threats and Force to Prevent Victims from Pursuing Their Claims.

        496.     The statute of limitations under the TVPA is ten years after the cause of action

arose, or ten years after the victim reaches eighteen years of age, if the victim was a minor at the

time of the alleged offense. 18 U.S.C. § 1595(c)(1), (2).

        497.     Due to extraordinary circumstances and Nygard’s conduct, which prevented Jane

Does Nos. 1-10 and the other Class members from bringing their claims, the TVPA’s statute of

limitations is equitably tolled for all claims that accrued between December 19, 2003 and February

14, 2010.

        498.     The general rule is that statute of limitations are subject to equitable tolling. See

United States v. Locke, 471 U.S. 84, 94 n.10 (1985) (”Statutory filing deadlines are generally

subject to the defenses of waiver, estoppel, and equitable tolling.”); Young v. United States, 535


                                                  87
U.S. 43, 49 (2002) (“It is hornbook law that limitations periods are customarily subject to equitable

tolling unless tolling would be inconsistent with the text of the relevant statute.”) (quotation marks

and citations omitted).

       499.    Jane Does Nos. 1-10 pursued their rights diligently and were impeded because of a

combination of force, threats of force, shame, embarrassment, fear, political and law enforcement

corruption, weak laws that are rarely enforced to protect the victim, and bribery. As a result, to

the extent necessary, the TVPA statute of limitations is equitably tolled.

       500.    To the extent that Nygard’s victims were unable to pursue their claims, they were

legitimately and justifiably afraid that he would harm them if they pursued any claim against him.

       501.    As discussed herein, Nygard uses his financial resources, political power, and

influence in the Bahamas, and threats of force to intimidate his victims—including Jane Does 1-

10 and the other Class members—and prevent them from coming forward.

       502.    In fact, just recently, Nygard’s attorneys bribed high-level Bahamian police to

determine the identities of victims who were reporting the rapes to officials.

       503.    Further, even after his victims leave his control, Nygard often continues to attempt

to contact them, in an intimidating manner, intending to instill in his victims and remind them of

his power and ability to hurt them.

       504.    Due to his power and influence in the Bahamas and worldwide, Nygard’s victims

reasonably believe that he can have them killed if they pursue their claims.

       505.    It is widely believed that Nygard pays thugs and/or the Bahamian police to harass

and threaten his victims by slashing their tires, committing arson, threatening to arrest them, and

having them followed.




                                                 88
        506.   Nygard’s illegal conduct also constitutes a recurring pattern and practice of sex

trafficking.

        507.   His sex trafficking activities have been occurring continuously, consistently, and

systematically since, at least, 2003 in violation of the TVPA.

        508.   Under the continuing violation doctrine, the statute of limitations is tolled for all

victims who have been subjected to his recurring, uniform pattern and practice of sex trafficking,

which includes Jane Does Nos. 1-10 and the other Class members.

                               CLASS ACTION ALLEGATIONS

        509.   Plaintiffs Jane Does Nos. 1, 2, 3, 4, 5, 6, and 10 bring this action pursuant to Federal

Rule of Civil Procedure 23(b)(3) and 23(c)(4) on behalf of themselves and the following Class (the

“Minor Victim Class”):

        All women who met with Peter J. Nygard in person while they were under eighteen
        years of age: (a) to audition for or to discuss involvement in modeling for any of
        the Nygard Companies; or (b) in a meeting or event facilitated, hosted, or
        underwritten by the Nygard Companies.

        510.   Plaintiffs Jane Does Nos. 7-9 bring this action pursuant to Federal Rule of Civil

Procedure 23(b)(3) and 23(c)(4) on behalf of themselves and the following Class (the “Adult

Victim Class”):

        All women who met with Peter J. Nygard in person while they were eighteen years
        of age or over: (a) to audition for or to discuss involvement in modeling for any of
        the Nygard Companies; or (b) in a meeting or event facilitated, hosted, or
        underwritten by the Nygard Companies.

        511.   Plaintiff Jane Doe No. 2 brings this action pursuant to Federal Rule of Civil

Procedure 23(b)(3) and 23(c)(4) on behalf of herself and the following Subclass (the “Minor

Victim Recruiter Subclass”):

        All members of the Minor Victim Class who recruited other women: (a) to audition
        for or to discuss involvement in modeling for any of the Nygard Companies; or (b)


                                                 89
       to attend a meeting or event facilitated, hosted, or underwritten by the Nygard
       Companies.

       512.    Plaintiff Jane Doe No. 8 brings this action pursuant to Federal Rule of Civil

Procedure 23(b)(3) and 23(c)(4) on behalf of herself and the following Subclass (the “Adult Victim

Recruiter Subclass”):

       All members of the Adult Victim Class who recruited other women: (a) to audition
       for or to discuss involvement in modeling for any of the Nygard Companies; or (b)
       to attend a meeting or event facilitated, hosted, or underwritten by the Nygard
       Companies.

       513.    The Classes consist of thousands of women, making joinder impracticable, in

satisfaction of Fed. R. Civ. P. 23(a)(1). The exact size of the Classes and the identities of the

individual Class members are ascertainable through records maintained by the Defendants,

including but not limited to the ComCor database.

       514.    Plaintiffs’ claims are typical of the claims of the other Class and Subclass members

that they respectively seek to represent. The claims of the Plaintiffs and the other Class members

are based on the same legal theories and arise from the same unlawful pattern and practice of

Defendants’ sexual harassment, sex trafficking, and assault.

       515.    There are many questions of law and fact common to the claims of Plaintiffs and

the other Class members, and those questions predominate over any questions that may affect only

individual Class members, within the meaning of Fed. R. Civ. P. 23(a)(2) and (b)(3). Class

treatment of common issues under Fed. R. Civ. P. 23(c)(4) will materially advance the litigation.

       516.    Common questions of fact and law affecting Class members include, but are not

limited to, the following:

               a. Whether Nygard engaged in commercial sex acts;

               b. Whether the Nygard Companies knew or should have known of Nygard’s

                   pattern of and propensity for commercial sex acts;

                                                90
               c. Whether the Nygard Companies facilitated and/or participated in Nygard’s

                   pattern and practice of commercial sex acts;

               d. Whether Defendants engaged in conduct designed to suppress complaints or

                   reports regarding Nygard’s conduct;

               e. Whether Defendants violated the Trafficking Victim Protection Act, 18 U.S.C.

                   § 1591(a)(1).

               f. Whether Defendants violated the Trafficking Victim Protection Act, 18 U.S.C.

                   § 1591(a)(2).

               g. Whether Defendants conspired to commit violations of the Trafficking Victim

                   Protection Act, in violation of 18 U.S.C. § 1594.

       517.    Absent a class action, most of the Class members would find the cost of litigating

their claims to be cost-prohibitive and will have no effective remedy. The class treatment of

common questions of law and fact is also superior to multiple individual actions or piecemeal

litigation, in that it conserves the resources of the courts and the litigants and promotes consistency

and efficiency of adjudication.

       518.    Plaintiffs will fairly and adequately represent and protect the interests of the other

Class members they respectively seek to represent.           Plaintiffs have retained counsel with

substantial experience in prosecuting complex litigation and class actions. Plaintiffs and their

counsel are committed to vigorously prosecuting this action on behalf of the other Class members

and have the financial resources to do so. Neither Plaintiffs nor their counsel have any interests

adverse to those of the other Class members.




                                                  91
                                        CLAIMS ALLEGED

                                               COUNT I

               VIOLATION OF THE TRAFFICKING VICTIM PROTECTION ACT,
                                 18 U.S.C. §§ 1591(a)

        519.    Plaintiffs reallege and incorporate by reference the allegations contained in

paragraphs 1-519, as if fully set forth in this Count.

        520.    Plaintiffs bring this Count individually and on behalf of the other Class and

Subclass members they respectively seek to represent.

        521.     Defendants knowingly used the instrumentalities and channels of interstate and

foreign commerce to facilitate violations of 18 U.S.C. § 1591(a)(1), occurring both in and outside

of the territorial jurisdiction of the United States.

        522.    Defendants’ conduct was in or affecting interstate or foreign commerce for

purposes of the TVPA.

        523.    Defendants knowingly recruited, enticed, harbored, transported, provided,

obtained, advertised, maintained, patronized, or solicited Jane Does Nos. 1, 2, 3, 4, 5, 6, and 10 as

well as other members of the Minor Victim Class, for the purpose of causing those persons to

engage in a commercial sex act, and at the time, these individuals were minors under the age of

eighteen, pursuant to 18 U.S.C. § 1591(a).

        524.    Defendants knowingly recruited, enticed, harbored, transported, provided,

obtained, advertised, maintained, patronized, or solicited Jane Does Nos. 7, 8, and 9, as well as

other members of the Adult Victim Class, for the purpose of causing those persons to engage in a

commercial sex act, through the use of force, fraud, and/or coercion, pursuant to 18 U.S.C.

§ 1591(a).




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       525.    Jane Does Nos. 1, 2, 3, 4, 5, 6, and 10 as well as other members of the Minor Victim

Class, did engage in commercial sex acts with Nygard, and, at the time, were under the age of

eighteen years old.

       526.    Jane Does Nos. 7, 8, and 9, as well as other members of the Adult Victim Class,

engaged in commercial sex acts with Nygard or others at Nygard’s direction, due to Nygard’s use

of force, fraud and/or coercion.

       527.    Defendants provided or promised Jane Does Nos. 1-10, as well as other Class

members, something of value in exchange for each sexual act.

       528.    Defendants’ conduct has caused Jane Does Nos. 1-10 and the other Class members

serious and permanent harm, including, without limitation, physical, psychological, financial, and

reputational harm, that is sufficiently serious, under all the surrounding circumstances, to compel

a reasonable person of the same background and in the same circumstances to perform or to

continue performing commercial sexual activity, in order to avoid incurring that harm.

                                             COUNT II

               PARTICIPATING IN A VENTURE IN VIOLATION OF
         THE TRAFFICKING VICTIM PROTECTION ACT, 18 U.S.C. §§ 1591(a)

       529.    Plaintiffs reallege and incorporate by reference the allegations contained in

paragraphs 1-519, as if fully set forth in this Count.

       530.    Plaintiffs bring this Count individually and on behalf of the other Class and

Subclass members they respectively seek to represent.

       531.    Defendants participated in a venture together, in violation of 18 U.S.C. §

1591(a)(2).

       532.    The Nygard Companies knowingly benefited from, and received value for, their

participation in the venture, in which Nygard, with the Nygard Companies’ knowledge, or in

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reckless disregard of the fact, that Nygard would defraud, force, and/or coerce Jane Does Nos. 1-

10, as well as other Class members, some of whom were under the age of eighteen, to engage in

commercial sex acts.

       533.    The Nygard Companies knew, or were in reckless disregard of the fact, that it was

Nygard’s pattern and practice to use the channels and instrumentalities of interstate and foreign

commerce, as well as the Nygard Companies’ resources to entice or recruit young and underage

aspiring female models into commercial sex acts, based upon the promise of lucrative modeling

opportunities or the use of his influence in their favor.

       534.    Nygard and other Nygard Companies’ employees had actual knowledge that they

were facilitating and participating in Nygard’s use of company resources to recruit, entice, coerce,

and/or solicit Jane Does Nos. 1, 2, 3, 4, 5, 6, and 10, as well as other members of the Minor Victim

Class, into commercial sex acts, who, at the time, were under the age of eighteen years old.

       535.    Nygard and other Nygard Companies’ employees had actual knowledge that they

were facilitating Nygard’s use of company resources to recruit, entice, coerce, and/or solicit Jane

Does Nos. 7, 8, and 9, as well as other members of the Adult Victim Class, into commercial sex

acts, through the use of force, fraud, and/or coercion.

       536.    Despite such knowledge, the Nygard Companies paid for, facilitated, and

participated in Nygard’s violations of 18 U.S.C. § 1591, where the Nygard Companies knew, or

were in reckless disregard of the facts that, Nygard would encounter aspiring models seeking to

do business with the Nygard Companies, who were either under the age of eighteen, or coerced,

defrauded, and/or forced to engage in commercial sex acts.

       537.    The Nygard Companies’ employees and/or agents actively participated in the

scheme that led Jane Does Nos. 1-10, as well as other members of the Classes, to believe that they



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would be rewarded with substantial career-advancing opportunities if they cooperated and

acquiesced to Nygard’s demands.

       538.    This affirmative conduct of the Nygard Companies was committed knowing, or in

reckless disregard of the facts that, Nygard would use Nygard Companies’ money, the promise of

a modeling career, and his influence in the fashion industry, which were things of value, as a means

of defrauding, forcing, and/or coercing sex acts from Jane Does Nos. 7, 8, and 9, as well as other

members of the Adult Victim Class.

       539.    Upon information and belief, in exchange for facilitating and covering up Nygard’s

commercial sex acts, the Nygard Companies’ employees progressed in their careers at the Nygard

Companies and received financial benefits therefor.

       540.    Participating in and covering up Nygard’s sexual misconduct was a means of

obtaining success and growth within the Nygard Companies’ hierarchy.

       541.    The Nygard Companies knowingly benefited financially from Nygard’s sex-

trafficking venture.

       542.    By facilitating Nygard’s commercial sex acts in foreign commerce, the Nygard

Companies enjoyed the promotion and promulgation of the Nygard Companies’ projects

internationally.

       543.    Nygard is the face of the Nygard Companies, and his presence and promotion in

foreign commerce brought exposure and prestige to the Nygard Companies.

       544.    The Nygard Companies facilitated Nygard’s commercial sex acts in foreign

commerce to obtain the enormous publicity that Nygard garnered by promoting the Nygard

Companies’ products internationally, which financially benefited the Nygard Companies.




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       545.    The Nygard Companies also benefited from the services that Nygard’s sex workers

were forced to provide to the Companies including, without limitation, modeling company

clothing for company executives, preparing Nygard for his business meetings, attending business

meetings, developing clothing design ideas, and perpetuating Nygard’s playboy image, which is a

crucial component of the Nygard brand.

       546.    The Nygard Companies’ brand also benefited financially from the promotion and

advertisement of “pamper parties,” Nygard Cay, and Peter Nygard’s playboy persona by

promoting them on the Nygard Companies’ website.

       547.    The Nygard Companies also used “pamper parties” at the Nygard Cay, Bahamas

and the Marina Del Ray, California locations to promote their products and brands.

       548.    The Nygard Companies also used the World Headquarters and New York

apartment above the World Headquarters for “sex parties” to promote their products and brands.

       549.    The Nygard Companies’ conduct has caused Jane Does Nos. 1-10 and the other

members of the Classes serious harm including, without limitation, physical, psychological,

financial, and reputational harm, that is sufficiently serious, under all the surrounding

circumstances, to compel a reasonable person of the same background and in the same

circumstances to perform or to continue performing commercial sexual activity, in order to avoid

incurring that harm.

                                            COUNT III

                  CONSPIRACY TO COMMIT VIOLATION OF THE
              TRAFFICKING VICTIM PROTECTION ACT, 18 U.S.C. §§ 1594

       550.    Plaintiffs reallege and incorporate by reference the allegations contained in

paragraphs 1-519, as if fully set forth in this Count.




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       551.    Plaintiffs bring this Count individually and on behalf of the other Class and

Subclass members they respectively seek to represent.

       552.    The Nygard Companies conspired, by agreement or understanding, to further

Nygard’s unlawful plan and/or purpose to commit illegal commercial sex acts with Jane Does Nos.

1-10 and other Class members.

       553.    The Nygard Companies committed overt acts in furtherance of the agreement or

understanding by playing an active role in recruiting, enticing, coercing, and inducing Jane Does

Nos. 1-10 and other Class members, through promises of lucrative modeling opportunities and

connections and influence that would substantially advance their careers.

       554.    The Nygard Companies’ participation in the furtherance of Nygard’s illegal sex

trafficking plan and/or purpose was intentional and/or willful and, therefore, the Nygard

Companies intentionally and/or willfully caused Nygard’s commission of the sex acts with Jane

Does Nos. 1-10 and other Class members in its affirmative acts supporting Nygard.

       555.    The Nygard Companies knew that their acts and conduct supporting and facilitating

Nygard would lead to unlawful commercial sex acts by Nygard with young women and children,

who were aspiring models, including Jane Does Nos. 1-10 and other Class members.

       556.    The Nygard Companies’ conspired with Nygard through their affirmative acts and

provided substantial support to Nygard committing commercial sex acts upon Jane Does Nos. 1-

10 and other Class members.

       557.    The Nygard Companies’ conduct has caused Jane Does Nos. 1-10 and other Class

members serious harm, including, without limitation, physical, psychological, financial, and

reputational harm, that is sufficiently serious, under all the surrounding circumstances, to compel




                                                97
a reasonable person of the same background and in the same circumstances to perform or to

continue performing commercial sexual activity in order to avoid incurring that harm.

                                        REQUEST FOR RELIEF

            Plaintiffs respectfully request that the Court enter judgment in their favor, and against

Defendants, as follows:

            a.     That the Court certify the Classes, name Plaintiffs as Class Representatives, and

appoint their lawyers as Class Counsel;

            b.     That the Court grant permanent injunctive relief to prohibit Defendants from

continuing to engage in the unlawful acts and practices described herein;

            c.     That the Court award Plaintiffs and the other members of the Classes compensatory,

consequential, general, and nominal damages in an amount to be determined at trial;

            d.     That the Court award punitive or exemplary damages in an amount to be determined

at trial;

            e.     That the Court award to Plaintiffs the costs and disbursements of the action, along

with reasonable attorneys’ fees, costs, and expenses;

            f.     That the Court award pre- and post-judgment interest at the maximum legal rate;

and

            g.     That the Court grant all such other relief as it deems just and proper.

                                             JURY DEMAND

            Plaintiffs demand a trial by jury on all claims so triable.




                                                      98
Dated: February 13, 2020

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                                  Class




                             99
